                              EXHIBIT B




Case 5:17-cv-00097-EKD-JCH Document 45-2 Filed 03/21/18 Page 1 of 34 Pageid#: 513
                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                        Harrisonburg Division



   JOHN DOE 1, et al., by and through their
   next friend, NELSON LOPEZ,on behalf of
   themselves and all persons similarly situated,
                                                        CIVIL ACTION
          Plaintiffs,

   v.                                                   Case No.: x:17-cv-00097-EKll

   SHENANDOAH VALLEY JUVENILE
   CENTER COMMISSION,                                   Honorable Elizabeth K.Dillon

          Defendant.

                                             AFFIDAVIT
   COMMONWEALTH OF VIRGINIA
   COUNTY OF AUGUSTA:

          This day, Elsa Gallardo, Case Manager for Shenandoah Valley Juvenile Center
   Commission, appeared before the undersigned notary public and made oath to the following
   based on her personal knowledge:

          1.      I am employed as a case manager for Shenandoah Valley Juvenile Center
   Commission ("SVJC").
          2.      I am the case manager for Plaintiff John Doe 1 ("Doe 1").
          3.      As his case manager, I supervise and oversee all aspects of Doe 1's care and
   placement at SVJC.
          4.      I am a custodian of and have access to Doe 1's case file in the performance of my
   employment responsibilities.
          5.      All records referenced by and attached to this affidavit:
         (a)      Are true, accurate, and complete copies of records regularly maintained by SVJC
                  as part of Doe 1's case file in the ordinary course of business;
         (b)      Are made at or near the time ofthe actions and events described therein;




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          (c)     Are prepared using information provided by persons with knowledge of the
                  actions and events described therein; and
          (d)     Are made and maintained as a regular practice by SVJC.
           6.     Doe 1 was initially placed in astaff-secure placement by ORR due to his
   disclosure of significant criminal history in Mexico and the United States.
           7.     Doe 1 was working as a foot guide and drug trafficker for the Cartel Del Golfo at
   the Mexican border and was guiding three adults across the border at the time he was detained.
           8.     Doe 1 was first placed at BCFS San Antonio, but was later transferred to Mercy
   First Residential Treatment Center due to violent, threatening, and self-harming behaviors.
           9.     Doe 1 was next transferred to NOVA Staff Secure due to being a flight risk, then
   from NOVA to SVJC due to violent and threatening behavior.
           10.    While at SVJC, Doe 1 received a psychological assessment and evaluation by Dr.
   Gustavo Rife on May 4, 2016.
           11.    Doe 1's medication dosage for depression remained the same when he transferred
   to SVJC.
           12.    Doe 1 was evaluated and treated by a psychiatrist on approximately 15 occasions
   while at SVJC.
           13.    Doe 1 participated in individual and group counseling sessions with a licensed
   professional counselor on approximately 278 occasions while at SVJC.
           14.    An updated psychological assessment was scheduled for Doe 1 in 2017, but was
   canceled after an evaluation with another psychologist was scheduled by the child advocate
   supervisors from the Young Center.
           15.    Doe 1 assaulted other UAC and juveniles on at least 20 occasions while at SVJC.
           16.    Doe 1 had incidents involving assaults on staff on at least 15 occasions while at
   SVJC.
           17.    Injuries sustained by SVJC staff members from Doe 1's assaults include, but are
   not limited to, two concussions, a fractured finger, and numerous facial lacerations and
   abrasions.
           18.    A copy of a report from Doe 1's file is attached as Exhibit B-1 that describes the
   events which may correspond with Doe 1's allegation that SVJC staff watched him use the
   bathroom on one occasion. As stated in the report:




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          (a)     Doe 1 reported making eye contact with a staff member while Doe 1 was in his
                 room using the bathroom on June 29, 2016.
          (b)     Doe 1 did not feel he was watched for an extended period of time and denied
                 feeling that staff was participating in voyeurism.
          (c)    Doe 1 accepted the opportunity to present his concerns directly to a SVJC shift
                  supervisor, who offered a solution to prevent similar events that required staff to
                  knock on the door before looking into a room.
          (d)     Doe 1 stated that the solution would be sufficient and thanked the shift supervisor.
          19.     I am not aware of any other similar incident being reported by Doe 1.
          20.     A copy of a report from Doe 1's file is attached as E~ibit B-2 that describes the
   events which may correspond with Doe 1's allegation that SVJC staff called him names and
   laughed at him. As stated in the report:
          (a)     On November 19, 2017, Doe 1 filed a grievance alleging that SVJC staff called
                  him names and laughed at him on November 17, 2017.
          (b)     Video taken during the time of the alleged conduct did not substantiate Doe 1's
                  allegations.
          (c)     The video showed Doe 1 giving SVJC staff the middle finger, ripping off his
                  sweatshirt, throwing shoes, refusing to take a timeout, running towards staff, then
                  punching another staff member in the face and head who tried to intervene.
          (d)     SVJC forwarded Doe 1's allegations to Child Protective Services and the
                  Department of Juvenile Justice for investigation.
          21.     A copy of a report from Doe 1's file is attached as E~ibit B-3 that describes the
   events which may correspond with Doe 1's allegation that SVJC staff piled on top of him and
   struck him with their elbows. As stated in the report:
          (a)     Two staff members approached the door to Doe 1's room to provide him with
                  toothpaste he requested on November 17, 2016.
          (b)     When the door opened, Doe 1 rushed forward to the door swinging his elbows
                  and trying to head-butt staff.
          (c)     Staff and Doe 1 fell to the floor as they tried to restrain him.
          (d)     Video footage ofthe incident did not show staff elbowing Doe 1.
          (e)     Doe 1 did not report any injuries following the incident.




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          (fl     One staff member required treatment for a laceration above and below his left eye
                  and for an abrasion on his left hand.
          22.     A copy of a report from Doe 1's file is attached as Exhibit B-4 that describes the
   events which may correspond with Doe 1's allegation that he was thrown to the ground,
   searched, and had his clothes shredded after asking to come inside the gym due to a headache.
   As stated in the report:
          (a)     On March 9, 2017, Doe 1 requested a timeout while participating in outside
                  recreation during school.
          (b)     Doe 1 had been observed digging in the dirt outside prior to making the request.
          (c)     Doe 1 had previously located items from digging in the dirt which he later used to
                  harm himself or destroy property.
          (d)     Doe 1 refused to allow staff to search his room for such items after his timeout
                  and then placed paper over his room window preventing staff from completing
                  their visual safety check.
          (e)     After Doe 1 refused several verbal requests, staff entered the room to search for
                  any items brought in from outside and to ensure Doe 1's safety.
          (fl     Doe 1 began throwing items at staff and kicked and punched staff multiple times
                  before he could be restrained and the search completed.
          23.     A copy of a report from Doe 1's file is attached as Exhibit B-5 that describes the
   events which may correspond with Doe 1's allegation that staff stabbed him with a pen after
   trying to defend another UAC. As stated in the report:
          (a)     Another UAC was arguing with staff regarding a behavioral level on April 24,
                  2016.
          (b)     The UAC used a touchscreen control to open the door to Doe 1's room.
          (c)     Doe 1 ran out of his room and punched a computer monitor that fell to the floor.
          (d)     Additional staff assisted in restraining Doe 1 and returning him to his room.
          (e)     Doe 1 reported being scratched with a pen during the incident and was evaluated
                  by a nurse.
          (~      The nurse discovered two small scratches on the right arm, a small abrasion on
                  the right forearm, five small scratches on his left arm, and two small scratches on
                  the left side of his face.




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          (g)    Doe 1 was offered and accepted ibuprofen for the scratches.
          (h)     One staff member involved in the incident suffered a fractured finger, while
                  another sustained a cut on the left side of his face.
          (i)     The Augusta County Sherriff's Department pressed felony assault charges against
                 Doe 1 after reviewing video footage of this incident.
          24.     A copy of a report from Doe 1's file is attached as Exhibit B-6 that describes the
   events which may correspond with Doe 1's allegations that he was beaten by a staff member
   after Doe 1 bit the staff member for entering his room:
          (a)     On December 17, 2016, staff making a visual safety check on Doe 1 observed that
                  hardware from the sink in Doe 1's room was missing.
          (b)    Doe 1 needed to temporarily move to another room while minor repairs were
                  completed to the sink.
          (c)     After being given several options verbally, Doe 1 refused to move and would not
                  allow staffto enter his room.
          (d)     When staff entered his room, Doe 1 became combative and was physically
                  restrained and lowered to the floor.
          (e)     A staff member was bit on the right forearm in the process of restraining Doe 1.
         (~       While on the floor, Doe 1 began striking his head and face area on the ground.
          (g)     Staff placed a mattress between Doe 1's head and the floor to avoid further injury.
          (h)     After the incident, Doe 1 was evaluated for complaints of pain in his right pinky
                  and ring finger. Doe 1 also had several red marks below his chin, jawline,
                 forehead, and above his eyes.
          (i)     Doe 1 was offered ice and ibuprofen but refused.          Doe 1 accepted a cold
                  compress.
          (j)     SVJC referred the incident to Child Protective Services for an investigation.
          25.     A copy of a report from Doe 1's file is attached as E~chibit B-7 that describes the
   events which may correspond with Doe 1's allegation that he cut himself on a Friday and did not
   receive treatment until the following Monday. As stated in the report:
          (a)     On Friday, July 14, 2017, staff applied wound care after observing a fresh cut on
                  Doe 1's left wrist.




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          (b)     Approximately two hours and fifteen minutes later, a new bandage was applied
                  when staff observed that the wound had bled through.
          (c)     Staff applied wound care again after blood was discovered on Doe 1's clothing
                  after showers.
          (d)     When asked, Doe 1 acknowledged irrigating his cut with a sharp object, promised
                  not to do it any further, and indicated that he had flushed the object down his
                  toilet.
          (e)     On Saturday, July 15, 2017, staff applied wound care after Doe 1 opened the cut
                  on his left wrist again.
         (~       Later that day, Doe 1 received wound care after he caused the wound to reopen by
                  applying pressure.
          (g)     Doe 1 received wound care again after showers on Saturday and surrendered a
                  blue piece ofthe to staff.
          26.     I am not aware of any instance in which Doe 1 did not receive prompt medical
   care once staff observed indications of cuts or other self-harm.
          27.     A copy of a report from Doe 1's file is attached as Exhibit B-8 that describes the
   events which may correspond with Doe 1's allegation that he attempted suicide on August 21,
   2017. As stated in the report:
          (a)     On August 17, 2017, Doe 1 covered the window in the door to his room while
                  observing a timeout.
          (b)     Doe 1 refused to remove the window covering to allow staff to complete a visual
                  safety check.
          (c)     Doe 1 took the window covering and wrapped it around his neck.
          (d)     Doe 1 laid upon his mattress and refused to respond verbally to staff.
          (e)     Doe 1 would occasionally open his eyes but then close them upon seeing staff.
          (~      Staff entered the room when Doe 1 appeared to be tightening the cover around his
                  neck.
          (g)     Staff removed the cover and other objects from Doe 1's room to prevent any
                  further self-harm.
          (h)     Doe 1 later began shredding his shirt into strips and wrapping the strips around his
                  neck.




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           (i)     Doe 1's shirt and pants were temporarily removed to prevent any further self-
                   harm.
           (j)     Doe 1 was removed from programming from that afternoon until 1 1:00 a.m. the
                   next morning follo~~-ing this incident.
           28.     A copy of a report from Doe l's file is attached as Exhibit B-9 that describes
    events involving Doe 1 on August 21, 2017. As stated in the report:
           (a)     Staff discovered that Doe 1 had pierced his right cheek with a wire from a spiral
                   notebook.
           (b)     Following the discovery, Doe 1 was examined by a nurse and counseled by his
                   clinician.
           29.     A copy of report from Doe 1's file is attached as Exhibit B-10 that describes
    events involving Doe 1 on August 22, 2017. As stated in the report:
           (a)     Doe l was in school programming on August 22, 2017.
           (b)     Doe 1 was removed from regular programming after threatening to stab a peer
                   and flashing a makeshift shank.
           30.     SV1C has not received notice of an adverse outcome or determination from Child
    Protective Services or the Department of Juvenile Justice with respect to any of Doe I's reported
    allegations.
           31.     Doe 1 transferred from SVJC to NOVA secure on December 7, 2017.
           32.     As of March 6, 2018, Doe 1 has assaulted NOVA staff on four occasions and has
    assaulted other UAC an nine occasions.




                                                         Elsa Gallardo

                                           ~                                               ..' .,~~~ E.       ''•
    Subscribed and sworn before me thi~~ day of March 2018 by Elsa Gallardo              = ~%~•'~ `'~''~"; ~'
    My commission expires        ~3l ~ZOZ(~                                                    '='-
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    Notary Registration No.        '"j / gZt,.t~ S~                                       ~,~'    Eh-'k~S '~.
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                                                              NOTAR       PUBLIC




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                                                             EXHIBIT

                                                              s-~

                                                                                  SHENANDOAH VALLEY
                                                                                  JUVENILE CENTER

   DATE: 06/29/16             Time:60m



   SHENANDOAH VALLEY JUVENILE CENTER
   INDIVIDUAL COUNSELING PROGRESS NOTE

   UC:                           A#208373337



   SHORT TERM OBJECTIVE OF SESSION:
   Assess for mood, behavior, and basic and mental health needs.

   PROGRESS REVIEW:
   UC requested to speak with clinician while attending school. UC reported to clinician that while
   he using the bathroom in his room after lunch, he made eye contact with a staff member
   through room window (who was doing routine room checks). UC stated that he felt
   uncomfortable and embarrassed regarding the incident and was visibly tearful during session.
   Clinician validated UC's immediate response to incident and ask UC if he would like to address
   his concerns with a Shift Supervisor. UC agreed and voiced his concern with Shift Supervisor
   Paul McCormick (using clinician as an interpreter). UC stated that he the staff did not watch UC
   for an extended period of time and denied feeling that staff was participating in voyeurism.
   Through group discussion, Sift Supervisor validated UC's concerns and offered a solution that
   could prevent similar events (e.g. have staff knock on door prior to viewing into room). UC
   stated that this solution would be sufficient and thanked Shift Supervisor.

   Clinician allowed UC to remain in his office until he felt well enough to return back to school. UC
   spoke with his family back in home country prior to returning back to school without further
   incident.

   BEHAVIOR /SAFETY: CONCERNS, PLANS, OR REVIEWS

   Clinician passed information regarding UC's concerns to Shift Supervisors and UC's Case
   Manager Elsa Gallardo.




   Evenor Aleman
   Mental Health Clinician
   Resident in Counseling




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      SHENANDOAH VALLEY
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          Grievance Response Date: November 20, 2017

          Resident:



                 This is in response to your grievance filed November
                                                                      19, 2017. You alleged that during an
         incident on 11/17/17:
                 Staff called you names
                 Staff was laughing at you
                 Staff made your mouth bleed when they physically restrai
                                                                           ned you

         After speaking with staff and reviewing video you are seen
                                                                    giving staff the finger and then you rip your
        sweatshirt. You vralk over to the shoe rack and throw a shoe at Mr.
                                                                              Smith. Mr. Smith requested that you
        return to your room fora "timeout" but you refused. You immedi
                                                                           ately pick up another shoe and ti~row
        it hitting Mr. Smith. At that time you are seen running towards staff
                                                                              in an aggressive manner. As Mr.
        landaeta attempted to intervene and stop you, you punch him
                                                                         multiple times in the face and head.
        As Mr. Smith, Mr. Landae[a and ~~lr. Lipsey attempt to restrain
                                                                        you, everyone falls to the ground. After
        interviewing staff, none of the staff knout how you received
                                                                     this injury. Staff denied any allegations that
        they were laugf~ing at you or calling you names.
        Your allegations hove been forwarded to Child Protective Service
                                                                          s and the Department of Juvenile
        Justice for them to investigate further.




        I I fT151r0\1/a~~ f                                    —
        b~eputy Director




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                                                                                                                                                                                            EXHIBIT
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                                                                                                                                                                                       ~    B-3
                                              First Name:                                                                   Status:                      ADMITTED
                                              Last Name:                                                                    AKA:

                                               Date of Birth:                                                               Gender:                      M
                                              A No.:                         208373337                                      LOS:                         220
                                               Age:                           16                                            LOC:                        473
                                              Child's Country of Birth:       Mexico                                        Current Program:            Shenandoah Valley Juvenile Center
                                               Admitted Date:               4/15/2016                                       Current Location:           Staunton, VA

                                                                            85/2015
                                              ORR Placement Date:


    Event Type:        SIR Event
    Date of Event:     11/17/2016                                        Time of Event: 05:30 PM                                        Event lD:         81462


    Synopsis of        ASSAULT STAfF and THREATENING BEHAVIOR
    Event:


     fEmergency 5lR                             C•~ SIR

    SIR

     r Abuse/Neglect in ORR                                             -S~iE~:-                                                Alleged Perpetrator:                -s~ie~ i--

     Care

     r Past Abuse/Neglect Not in ORR                  (- Abuse In Home Country                                               r Abuse On Journey
     Care                                               r NegIect/Abandonment in
                                                                              ~ the Home Country                             r NegIect/A6an donment'in the U ni'ted States

                                                        r Abuse In United5tates                                              r Other

                                                        r Abuse In DHS Custody                                               Specify:

                                                            r Physical Abuse In ICE Custody

                                                            r Sexual Abuse In ICE Custody

                                                            r Physical Abuse In CBP Custody

                                                            r Sexual Abuse In CBP Custody

                                                            r Other

                                                           Specify:

     r Major Behavioral Incidents that                  ~' Possession/Use of a Weapon                                        ~ Physical Aggression/Harm to Others
     threaten safety                                    r Suicidal Ideation                                                  r Use of Drugs and/or Alcohol in ORR Custody

                                                        r Verbal Aggression                                                  r Self-injurious Behaviors/Self Mutilation

                                                        r Other                                                              r Suicide Attempt/Gesture

                                                      Specify:

     r Runaway                                          r Runaway                       r Attempted Runaway

     r Incidents Involving Law                          r Search                                                             r Investigate/Response
     Enforcement                                        r' Interview                                                         r Arrest

                                                        r Other

                                                      Specify:

     r Safety Measures                                  r One-on-One Supervision                       r Use of Restraints                        r Pat-Down or Other Searches

     r Cfiminal History                                 r Significant Criminal History in Home Country

                                                        r Significant Criminal History in United States

                                                        r Other

                                                      Specify:

     r Pregnancy Related                              (' Pregnancy                       (~ Childbirth                      [' Termination Request
     Issues                                                 Please describe how the pregnancy occurred and if there are any medical complications related to the pregnancy:

     r Other                                            r Contac[ or Threats to UC while in ORR Care(from smuggling syndicates, organized crime, other criminal actors)

                                                        r Other

                                                      Specify:

    Inddent Information:
     Did the incident take place at another             ~^ yes R No Care Provider Name:           -5elec[ Provider Name--
     careproviderfaciliry7                                                                        N~.,,~e, o~~ - Care Provider State    5 F,:~voo. i.: v~~.=-
                                                                       Care Provider City:

     Location of Incident:                       Housing n~ea          Date Reported To Care Provider:       11/17/zo16                 Time Reported To Care Provider:          oc:3z PM

     Other Specify:                         alpha pod                   Date Reported Ta ORR:                11/17/2016                 Time Reported Ta ORR:                    05:00 PM



     ~:-~ Description of Inddant(History)



     On 11/17/16, at approximately 5:30pm, UC                                   requested toothpaste

     brush his teeth, following the evening meal. As staff, Messrs. Beiler and McCormick,
     opened UC                                door to provide him with toothpaste, he disregarded
     staff instruction to remain inside his room and pushed forward to exit the room. UC
                              proceeded to assault staff by head-butting staff and swinging his
     elbows aggressively.

     Description of Incident: Full Description On 11/21/2016. Clinician met with UC on behalf of UC's request. UC stated that he had just spoken to his legal service providers (LAIR



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    of Incident)                                  Coalition) and that he would like to file a restraining order on Shift Supervisor Paul McCormick. UC explained that the day he was restrained
                                                  McCormick (11/17/2016) elbowed him. UC denied ever hitting McCormick during the entire incident (unlike how the incident was describe in
                                                  disciplinary report). UC further stated Shat he didn't want McCormick around him has he becomes angry, gets thoughts of hurting him, and
                                                 feels targeted by him. UC denied having any visible injuries where he claimed to has been assaulted 6y McCormick. Reported 6y Evenor
                                                  Aleman.

     Was the UC or Anyone Eise Injured7:               C.' Ves (" No                              Specify: uc                    has not complained of any In)uries. M

    Actions Taken
    O SUff Respo~e and Interventlon(History)

     AS there was no time for verbal intervention because UC                             pushed       11/21/20163:40:57 PM                           ealeman@svjc.org

     forward to exit his room as soon as the door opened by pushing against staff. Assistant
     Shift Supervisor McCormick attempted a PRT, as UC                              tried to head-
     butt staff, while swinging his elbows aggressively to break free. McCormick secured the
     PRT and with the assistance of floor supervisor Beiler brought UC
     to the floor. As UC                          continued to resist, mechanical restraints were
     applied to his hands and ankles at 5:33PM. All restraints were removed at approximately
     06:OOPM. UC                              has not complained of any injuries. McCormick
     sustained a laceration above and below his left eye and an abrasion on his left hand.
    Staff Response and Intervention               Clinician reviewed camera footage regarding the Incident (11/17/16). At 5:29pm it was observed that UC attempted to rush out of his roam
                                                 after staff opened his room door to give requested toothpaste. McCormick was observed attempting to place UC in a PRT while following UC
                                                  has he rushed out of him room. It was observed that both UC and McCormick fell to the ground soon after. While on the ground McCormick
                                                  was successful in placing UC in a PRT while additional staff arrived at the scene. A total of eight staff were present on camera either
                                                  observing or assisting in restraining UC (such as holding UC's arms and legs down, applying mechanical restraints). At 5:33pm, it was
                                                  observed that McCormick was relieved from his PRT 6y other staff and walked away from scene in order to tend to his injuries he sustained.
                                                  At no point during the incident did McCormick appear [o elbow UC throughout his entire restraint. Reported by Evenor Aleman

    U Follow-up and/ar Resolutlon (Hktory)
                                                                                                      r.

     In accordance with the Shenandoah Valley Juvenile Center's behavioral management                 11/21/2016 3:40:57 PM                          ealeman@svjc.org
     policy, UC                           was removed from programming for disruptive behavior
     and assault on staff. UC's behavior will be continually evaluated in order to expedite UC's
     reintegration into regular programming while maintaining the safety of UC, staff and othe
     minors in the program. Removal from programming will not exceed 24 hours, without
     administrative approval. Following reintegration, Clinician and Case Manager will meet
     with UC to discuss safety concerns and behavioral management. Follow up will 6e
     documented in UC's individual progress notes and case manager notes.

     Clin(cian Informed Program Manager                                                               11/21/2016 3:43:26 PM                          ealeman~svjc.org

    Follow-up and/or Resolution:                  Clinician informed SVIC ORR/DCS Program Manager Cristina Casado and SV1C Program Manager Jason Klingensmith regarding UC's
                                                  allegations. Reported by Evenor Aleman

    U Recommendations(Hlstory~

    Recommendations:                              It is recommended that UC continue to receive case management, clinical, legal, and medical services.
    Reporting:

     Reported To State Licensing:                 C' Yes (•' No                     Date of Report:                                                 Time of Report:

     Was the Incident Investigated?               C' Ves C' No          Date Notified the Incident                                    Case/Confirmation Number:
                                                                        will 6e Investigated:

    Explain
    I_I Progress of Investigation (History)

    U Results/Findings of Investigation (History):

     Results/Findings of Investigation:

     Attach Reports/Findings:

     Is CPS Different From State Licensing:        r Yes !" No

     Reported To CPS:                             C" Yes f~ No                      Date of Report:                                              Time of Report:

     Was the Incident Investigated?               C' Yes C~ No           Date Notified the Incident                                Case/Confirmation Number:
                                                                         will 6e investigated:

     Explain

     Results/Findings of Investigation:
     Attach Reports/Findings:

     Reported 7o Local Law Enforcement:           (' Yes ~' No                      Date of Report:                                              Time of Report:

                                                                                    Officer Name:                                                  Officer Badge:

     Was the Incident Investigated?               (" Yes !" No           Date Notified the Incident                                Case/Confirmation Number:
                                                                         will be investigated:

     Explain

     U Prgress M InvesdgaUon (History)

     L~ Results/Findings of Investigation (Histnry~:

     Results/Findings of Investigation:

     Attach Reports/Findings:



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    ORR Notiflcatfons:



                                   Jessie Mansilla              ORR/FFS                 11/17/2016      09:00 PM          lessie.Mansilla @acf.hhs.g 4024014844

                                   Joseph Flippin               ORR/PO                  11/17/2016      09:00 PM          Joseph.Flippin~acf.hhs.go 2024014Sfi3

                                                                Medical Coord inaSor

                                   Patricia Melendres           Case Coordinator        11/17/2016      09:00 PM          Patrkla.Melendres~GDIT. 8e15876557

                                   Mark Bennett                 CFS                     11/17/2016      09:00 PM          Mark.Bennett@acf.hhs.gov 2022605738

                                   DCS Hotline                  SIR Hotline             11/17/2016      09:00 PM          s(rhotllne@acf.hhs.gov     2025075709

                                   Rebecca Schreuder            GAIT Supervisor         11/17/2016      09:00 PM          Rebecca.Schreuder@GDIT.c    75520202

    Other Notifintions:

    is this an SlR fora Runaway?   (' Ves (~ No

                                   Title                 Name                 Date Notified   Time Notified     Method of Notification   Spxify




                                   Staff Filing Report           P. Andrew Mayles             Resident in Counseling    pmayles@svjc.org           5408860729

                                   Contact for Follow•Up         P. Andrew Mayles             Resident in Counseling    pmayles@svjc.org           5408860729




Case 5:17-cv-00097-EKD-JCH Document 45-2 Filed 03/21/18 Page 13 of 34 Pageid#: 525
                                                                                                                                                                                                       EXHIBIT
                                                                                                                                                                                            .~
                                                                                                                                                                                             D
                                                                                                                                                                                             ~          ~—~
                                          First Name:                                                                               Status:                        ADMITTED
                                          Last Name:                                                                                AKA:
                                          Date of Birth:                                                                            Gender:                        M                      _
                                          A No.:                           208373337                                                LOS:                           328
                                          Age:                             16                                                       LOC:                           581
                                          Child's Country of Birth:        Mexico                                                   Current Program:               Shenandoah Valley Juvenile Center
                                          Admitted Date:                   4/15/2016                                                Current Location:              Staunton, VA
                                                                           8/5/2015
                                          ORR Placement Date:


     Event Type:    SIR Event
     Date of Event: 3/9/2017                                           Time of Event: 01:20 PM                                                  Event ID:           94811


     Synopsis of       On 03/09/17 at 01:20PM, 11C was removed from programming for failure to obey, threatening behavior, disruptive behavior,
     Event:            threatening staff, and assault on staff.


     (~ Emefgenty SlR                      r SIR
     SIR

     r Abuse/Neglect in ORR                                           ~ -s~i=,«--                                                       Alleged Perpetrator.                  - ~`~''p1
     Care

     r Past Abuse/Neglect Not in ORR             r Abuse In Home Country                                                             r Abuse On Journey
     Care                                         ~'" NegIect/A6and onment in the Home Country                                       r N egI ect/Aband onment'in the U ni~te d 5ta tes

                                                 r Abuse In United5tates                                                             r Other

                                                 r Abuse In DHS Custody                                                              Specify:

                                                       r Physical Abuse In ICE Custody
                                                       r Sexual Abuse In ICE Custody
                                                       r Physical Abuse In CBP Custody
                                                       r Sexual Abuse In CBP Custody

                                                       r Other
                                                      Specify:

     ~ Major Behavioral Incidents that            ~" Possession/Use of a Weapon                                                       R Physical AggressionJHarm to Others
     threaten safety                             r Suicidal Ideation                                                                  r Use of Drugs and/or Alcohol in ORR Custody
                                                  F7 Verbal Aggression                                                                r Self-injurious Behaviors/Self Mutilation

                                                 ~ Other                                                                              r Suicide Attempt/Gesture

                                                 Specify: failure ro ohey, threatening behavior, disruptive hehavior, threatening staff, and assault on staff.

     r Runaway                                   r Runaway                              r Attempted Runaway

     r Incidents Involving Law                   r Search                                                                             r Investigate/Response
     Enforcement                                 r Interview                                                                          r Arrest

                                                 r Other
                                                 Specify:

     r Safety Measures                            r One-on-One Supervision                                   r Use of Restraints                              r Pat-Down or Other Searches

     r Criminal History                           r Significant Criminal History in Home Country

                                                  r Significant Criminal History in United States

                                                  r Other
                                                 Specify:

      r Pregnancy Related                        (~ Pregnancy                             ~' Childbirth                             (" Termination Request
     Issues                                            Please describe how the pregnancy occurred and if there are any medical complications related to the pregnancy:

      r Other                                     r Contact or Threats to UC while in ORR Care (from smuggling syndicates, organized crime, other criminal actors)

                                                  r Other
                                                 Specify:

     Inddent Information:
     Did the incident take place at another      (` yes (•' No Care Provider Name:                       -select Provider Name --
     careproviderfacility?
                                                                    Care Provider City:        s~~ - ~     '...". "'~ - Care Provider State      ~~"-'~'`°~      ~~~'~

      Location of Incident:                   Housing Area           Date Reported To Care Provider:                3/s/io17                     Time Reported Ta Care Provider:          02:42 PM

      Other Specify:                   Charlie Pod                   Date Reported To ORR:                          3/a/1ov                      Time Reported To ORR:                    05:00 PM



     Description of Incident:(Full Description On 03/09/17 a[ 01:20PM, UC                                        requested a time out while in outside recreation during school. UC was granted the time
     of Incident)                                out and taken [o his room. As he was being escorted to his room, he was advised that he would need complete a search before back coming
                                                 ou[ as he was seen digging outside. Please note, UC has previously found contraband while digging outside and has used it to self-
                                                 harm/destroy property. UC refused to complete the search upon terminating his time out. Due to UC's noncompliance, UC was advised [hat if
                                                 he did not complete the search, he would be removed from programming for safety concerns and failure to comply. Again, UC refused to
                                                 complete the search and began covering his window preventing staff from completing routine safety checks. UC was verbally redirected
                                                 severe) times to remove [he window covering so that staff could complete the checks. However, UC continued to refuse and began threatening
                                                 staff. Due to UC's refusal to comply and preventing staff from completing checks, staff entered UC's room to clear the window and confirm
                                                 that UC was okay. At this time, UC began throwing items and attacking staff. Due to the assault in progress, staff attempted to place UC in a
                                                 physical restraint for the safety of UC, staff and other minors in the program. UC continued to resist the restraint and was able to punch and

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                                              kick staff several Simes. Aher successfully completing the physical restraint, staff attempted to release UC, as he appeared calm. However,
                                              when they began to release him, UC began struggling and was able to punch and kick staff in the head. In addition, UC attempted to bite staff.
                                              The physical restraint was resumed and all items were removed from UC's room. After approximately 7 minutes of continued ongoing
                                              struggle and no signs of calming down, UC was placed in mechanical restraints for the safety of UC, staff and all other minors in the
                                              program. UC continued to struggle for approximately 4 additional minutes without signs of calming down. After exhausting all forms of less
                                              intrusive intervention, UC was placed in the emergency restraint chair in order to ensure the safety of all parties involved. UC was in the
                                              emergency restraint chair for approximately one hour and four minutes before calming down. UC was escorted to his room without further
                                              issue.

     Was the UC or Anyone Else Injured?:        fVes (~ No                                     Specify:

     Actions Taken
    Staff Response and Intervention           On 03/09/17 at 01:20PM, staff granted UC                             time out and escorted him to his roam. At this time, staff advised UC that
                                              he would need to comply with a search before coming out of his room. UC refused and began covering his window. Staff verbally redirected
                                              UC several times to remove the cover so they could complete the routine safety checks. UC failed to comply and began threatening staff. Due
                                              to UC's escalating behaviors, additional assistance was called. UC continued to prevent staff from completing routine safety checks.
                                              Therefore, staff entered his room to remove the cover. However, at this time they began to be assaulted by UC. Due to the assault in progress,
                                              staff attempted to complete a physical restraint. UC continued [o struggle and assault staff. However, staff were able to complete the
                                              psychical restraint after UC appeared to 6e calm, staff began to release UC. UC began struggling and was able to punch and kick staff in the
                                              head. UC also attempted to bite staff. Staff resumed the physical restraint and all items were removed from UC's room. After approximately 7
                                              minutes of continued ongoing struggle and no signs of calming down, staff placed UC in mechanical restraints for the safety of UC, staff and
                                              all other minors in the program. UC continued to struggle fog approximately 4 additional minutes without signs of calming down. After
                                              exhausting all forms of less intrusive intervention, staff placed UC in the emergency restrain[ chair in order to ensure the safety of all
                                              parties involved. UC was in the emergency restraint chair for approximately one hour and four minutes before calming down. Once calm,
                                              staff released UC from the emergency restraint chair and escorted him [o his room without further issue.
     Follow-up and/ar Resolution:             In accordance with the Shenandoah Valley Juvenile Center's behavioral management policy, UC                               was removed from
                                              regular programing for failure to obey, threatening behavior, disruptive behavior, threatening staff, and assault on staff. UC's behavior will
                                              be continually evaluated in order to expedite UC's reintegration into regular programming while maintaining the safety of UC, staff and other
                                              minors in the program. Removal from programming will not exceed 24 hours, without administrative approval. Following reintegration,
                                              Clinician and Case Manager will meet with UC to discuss safety concerns and behavioral management. Fallow up will be documented in
                                              UC's individual progress notes and case manager notes.
     Recommendations:                         It is recommended that UC                            continue to receive case management, clinical, legal, and medical services.

     Reporting:

     Reported To State Licensing:             (' Ves (~ No                      Date of Report:                                                 Time of Report:

     Was the Incident InvestigatedT           (" Yes r No            Date Notified the Incident                                    Case/Confirmation Number:
                                                                     will 6e investigated:

     Explain

     Results/Findings of Investigation:
     Attach Reports/Findings:

     IS CPS Different From State Lf[en5(ng:   (: Yes (' No

     Reported To CPS:                         (' Yes (~ No                      Date of Report:                                              Time of Report:

     Was the Incident Investigated?           (' Ves R No            Date Notified the Incident                                 Case/Confirmation Number:
                                                                     will be investigated:

     Explain

     Results/Findings of Investigation:

     Atta[h Reports/Findings:

     Reported To Local Law Enforcement:       (' Yes (~ No                      Date of Report:                                              Time of Report:

                                                                                Officer Name:                                                 Officer Badge:

     Was the Incident Investigated?           fYes f' No             Date Notified the Incident                                 Case/Confirmation Number:
                                                                     wild be investigated:

     Explain

     Results/Findings of Investigation:

     Attach Reports/Findings:

     ORR NotlRcatians:



                                              Jessie Mansilla             ORR/FFS                 3/9/2017           OS:OO PM          jessie.mansilla@acf.hhs.g 2024014844

                                              Joseph Flippin              ORR/PO                  3/9/2017           05:00 PM          joseph.flippin@acf.hhs.go 2024014863

                                                                          Medical Coordinator

                                              Patricia Melendres          Case Coordinator        3/9/2017           05:00 PM           patricia.melendres@gdit.c d035S76557

                                               Mark Bennett               CFS                     3/9J2017           05:00 PM           mark.bennett@a~f.hhs.gov 2022605738

                                              SIR Hotline                 SIR Hotline             3/9/2017           05:00 PM          sirhotlineQ~ad.hhs.gov       2024015709

                                               Rebecca Schreuder          GDIT Supervisor         3/9/2017           05:00 PM           Re6eccaSchreuder@GDIT.         75520202

     Other Notlfiwtions:

     Is this an SIR for a Runaway?            (' Yes r No

                                               title               Name                 Oate Notified     Time Notified      Method of Notification    Specify



                                                               -_-
     Reporter and Follow-Up Contact


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                     Staff Filing Report     Elsa Galla rdo   Case Manager   egalla rdo@svjc.org   5408860729

                     Contact for Follow-Up   Elsa Gallardo    Case Manager   egallardo@svjc.org    5408860729   ~i




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                                                                                                                                                                                                EXHIBIT

                                                                                                                                                                                                B-5
                                            First Name:                                                                     Status:                        ADMITTED
                                            Last Name:                                                                      AKA:
                                            Date of Birth:                                                                  Gender:                        M
                                            A No.:                         208373337                                        LOS:                          56
                                            Age:                           15                                               LOC:                          309
                                           Child's Country of Birth:       Mexico                                           Current Program:              Shenandoah Valley Juvenile Center
                                            Admitted Date:                 4/15/2016                                        Current Location:             Staunton, VA
                                                                           8/5/2015
                                           ORR Pla[ement Date:


    Date of Event: 4/24/2016                                          Time of Event: 08:28 PM                                            Event ID:          26782

    Synopsis of        Assault on Staff on Alpha Pad
    Event:


    (" Emergency SiR                         ~' SIR
    SIp

     r Abuse/Neglect in ORR                                          --`~~~~~'~--                                               Alleged Perpetrator:                  - -`-'d~"-'-
     Care

     r Past Abuse/Negle[t Not in ORR                 r Abuse In Home Country                                                 r Abuse On lou rney
     Care                                            r Neglect/A6andonment in the Home Country                               r Neglect/A6andonment in the United States

                                                     r Abuse In United5tates                                                 r Other
                                                     r Abuse In DHS Custody                                                  Specify:

                                                         r Physical Abuse In ICE Custody

                                                         r Sexual Abuse In ICE Custody
                                                         r Physical Abuse In CBP Custody
                                                         r Sexual Abuse In CBP Custody
                                                         r Other
                                                        Specify:

     ~ Majar Behavioral Incidents that             ("' Possession/Use of a Weapon                                            ~ Physical Aggression/Harm to Others
     threaten Safety                                 r Suicidal Ideation                                                     r Use of Drugs and/or Alcohol in ORR Custody
                                                     r Verbal Aggression                                                     r Self-injurious Behaviors/Self Mutilation
                                                     r Other                                                                 r Suicide Attempt/Gesture

                                                   Specify:

     r Runaway                                       r Runaway                        r Attempted Runaway

     r Incidents Involving Law                       r Search                                                                r Investigate/Response
     Enforcement                                     r Interview                                                             r Arrest
                                                     r Other
                                                   Specify:

     r Safety Measures                               r One-on-One Supervision                        r Use of Restraints                           r Pat-Down or Other Searches

     r Criminal History                              r Significant Criminal History in Home Country

                                                     r Significant Criminal History in United States
                                                     r Other
                                                   Specify:

     r Pregnancy Related                             C' Pregnancy                      C" Childbirth                        (~ Termination Request
     Issues                                              Please describe how the pregnancy occurred and if there are any medical complications related to the pregnancy:

     r Other                                         r Contact or Threats to UC while in ORR Care(from smuggling syndicates, organized crime, other criminal actors)

                                                     r Other
                                                   Specify:

    Inddent Information:
    Did the incident take place at another         (` Yes r No Care Provider Name:              - seiec~ r~o~ide~ Name --
    care provider facility?
                                                                    Care Provider City:     ~ .~ ~ ~;,:i;~, ;,~~, Care Provider Stater'select vrovider s~a~x -~

     Location of Incident:                    Housing Area          Date Reported To Care Provider:         4/i5/io16                    Time Reported To Care Provider:             09~~ AM

     Other Specify:                      Alpha pod                   Date Reported Ta ORR:                  4/i5/7o16                    Time Reported To ORR:                       11:30 AM



    U Descriptlon of Incident(History)



     On 04/24/16 at 08:28PM, another minor was arguing with staff over a behavioral level               4/26/2016 2:58:27 PM                               egallardo@svjc.org
     loss. As this is happening, the other minor reaches over to the touch screen and opens UC
                              door. UC runs out of his room and punches the computer monitor
     knocking it off of the staff station. As staff is attempting to regain control of the situation,
     UC punches staff in the head. As additional staff enter the unit, UC is placed in a physical
     restraint and escorted to his room. UC struggles to get out of the physical restraint. As
     staff escorts UC into his room and attempts to close the door, UC grabs ahold o(s[aff's
     shirt and attempts to pull staff into his room. As staff breaks free of his grip, UC pushes


Case 5:17-cv-00097-EKD-JCH Document 45-2 Filed 03/21/18 Page 17 of 34 Pageid#: 529
     through staff and attempts to return to the situation. UC was placed in a physical rest
     again for the safety of UC, staff and other minors in the program. UC is escorted to his
     room without further incident.

     On 04/24/16 at 08:28PM, another minor was arguing with staff over a behavioral level               4/26/2016 3:06:19 PM                         egalla rdo@svjc.org

     loss. As this is happening, the other minor reaches over to the Youch screen and opens UC
                              door. UC runs out of his room and punches the computer monitor
     knocking it off of the staff station. As staff is attempting to regain control of the situation,
     UC punches staff in the head. As additional staff enter the unit, UC Is placed In a physical
     restraint and escorted to his room. UC struggles to get out of the physical restraint. As
     staff escorts UG into his room and attempts to close the door, UC grabs ahold of staff's
     shirt and attempts to pull staff into his room. As staff breaks free of hIs grip, UC pushes
     through staff and attempts to return to the situation. UC was placed In a physical restrain
     again for the safety of UC, staff and other minors in the program. UC is escorted to his
     room without further incident. ADDENDUM 04/26/16: While in restriction, CM met with
     UC and reports he was scratched with a pen on the right side of his face, forearms, and hit
     on the back of the head. CM was only ahle to see the scratches on the right side of his face
     which were superficial. CM notified the nurse and the nurse checked on UC. According to
     the nurse, UC dtd not receive ice due to it being more than 24 hours after the incident. UC
     was offered ibuprofen. UC received the medication. The nurse reported two small
     scratches on UC's right arm, a small abrasion on UC's right forearm, five small scratches
     on his left arm and two small scratches on the right side of his face. Given UC's
     alle¢ations. CM reviewed the video and was unable to determine ff UC was scratched with
     a pen because there were many staff involved in the incident. A CORRECTION was made to
     this SIR indicating who else was injured during the incident: At the time of the incident, UC
                             reported no injuries. Mr. A6oayge,staff reported back pain and
     called the workers compensation nurse. Mr. Razul, staff received a cut on the left side of
     his face near his nose. He stated that the left side of his face was numb and it appeared to
     be swollen. it was recommended that Mr. Razul go to the hospital for medical followup.
     Desuiption of Incident:(Full Description On 04/24/16 at 08:28PM, another minor was arguing with staff over a behavioral level loss. As this is happening, the other minor reaches
     of Incident)                               over to the touch screen and opens UC                              door. UC runs out of his room and punches the computer monitor knocking it
                                                off of the staff station. As staff is attempting to regain control of the situation, UC punches staff in the head. As additional staff enter the
                                                unit, UC is placed in a physical restraint and escorted to his room. UC struggles to get out of the phys(cal restraint. As staff escorts UC into
                                                his room.and attempts to close the door, UC grabs ahold of staffs shirt and attempts to pull staff into his room. As staff breaks free of his
                                                grip, UC pushes through staff and attempts to return to the situation. UC was placed in a physical restraint again for the safety of UC, staff
                                                and other minors in the program. UC is escorted to his room without further incident. ADDENDUM 04/26/16: While In restriction, CM met
                                                with UC and reports he was scratched with a pen on the right side of his face, forearms, and hit on the back of the head. CM was only able to
                                                see the scratches on the right side of his face which were superficial. CM notified the nurse and the nurse checked on UC. According to the
                                                nurse, UC did not receive ice due to (t being more than 24 hours after the incident. UC was offered Ibuprofen. UC received the medication. The
                                                nurse reported two small scratches on UC's right arm, a small abrasion on UC's right forearm, five small scratches on hts left arm and two
                                                small scratches on the right side of his face. Given UC's allegations, CM reviewed the video and was unable to determine if UC was scratched
                                                with a pen because there were many staff involved fn the incident. A CORRERION was made to this SIR indicating who else was injured
                                                during the incident: At the time of the incident, UC                           reported no Injures. Mr. Aboayge, staff reported back pain and
                                                called the workers compensation nurse. Mr. Razul, staff received a cut on the left side of his face near his nose. He stated that the left side of
                                                his face was numb and it appeared to be swollen. It was recommended that Mr. Razul go to the hospital far medical follow up and it was
                                                reported that he had a fractured finger.

     Was the UC or Anyone Else Injured?:            C' Yes (~ No                                  $pe[ify: Please see ADDENDUM 04/]6/16.

     Actions Taken

     -- Staff Response and Intervention (History)

     Staff Response and Intervention            On 04/24/16 at 08:28PM, staff is attempting to get control of the situation with another minor when UC punches him on in the head. As
                                                additional staff arrive to the unit, staff place UC to a physical restraint for the safety of UC, staff and other minors in the program. Staff
                                                attempt to escort UC to his room. As UC continues to struggle In the restraint, UC grabs ahold of staff's shirt and attempts to pull him Iota his
                                                room. Staff hreaks free of the grip and UC attempts to return to the situation. At that time, staff place UC in a physical restraint again for the
                                                safety of UC, staff and other minors in the program. Staff escort UCto his room without further incident.

     O Follow-up and/or Resolution (History)
                                                                                                        ..
      In accordance with the Shenandoah Valley Juvenile Center's behavioral management                  4/26/2016 2:58:27 PM                         egallardo@svjc.org

      policy, UG                         lost all of his behavioral levels and was restricted to his
      room for disruptive behavior and assault on staff. After returning to his roam, UC was
     evaluated and there were no injuries as a result of the incident.

     In accordance with the Shenandoah Valley Juvenile Center's behavioral management                   4/26/2016 3:06:19 PM                         egallardo~svjc.org
      policy, UC                         lost all of his behavioral levels and was restricted to his
      room for disruptive behavior and assault on staff. After returning to hts room, UC was
     evaluated and there were no Injuries as a result of the Incident. ADDENDUM 04/26/16:
      While In restriction, CM met with UC and reports he was scratched with a pen on the right
     side of his face, forearms, and hit on the back of the head. CM was only able to see the
     scratches on the right side of his face which were superficial. CM notified the nurse and
     the nurse checked on UC. According to the nurse, UC d(d not receive Ice due to It being
      more than 24 hours after the Incident. UC was offered ibuprofen. UC received the
      medication. The nurse reported two small scratches on UC's right arm, a small ahrasion
      on UC's right forearm,five small scratches on his left arm and two small scratches on the
      right side of his face. G(ven UC's allegations, CM reviewed the video and was unable to


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     determine if UC was scratched with a pen because there were many staff involved in the
     incident. A CORRECTION was made to this SIR indicating who else was injured during the
     incident: At the time of the Incident, UC                         reported no injuries. Mr.
     Aboayge, staff reported back pain and called the workers compensation nurse. Mr. Razul,
     staff received a cut on the left side of his face near his nose. He stated that the left side of
     his face was numb and it appeared to be swollen. It was recommended that Mr. Razul go
     to the hospital for medical followup.
    Follow-up and/ar Resolution:                 In accordance with the Shenandoah Valley Juvenile Center's behavioral management policy, UC                                lost all of his
                                                 behavioral levels and was restricted to his room for disruptive behavior and assault on staff. After returning to his room, UC was evaluated
                                                 and there were no injuries as a result of the incident. ADDENDUM 04/26/16: While in restriction, CM met with UC and reports he was
                                                 scratched with a pen on the right side of his face, forearms, and hit on the hack of[he head. CM was only able to see the scratches on the
                                                 right side of his face which were superficial. CM notified the nurse and the nurse checked on UC. According to the nurse, UC did not receive
                                                 ice due to it being more than 24 hours after the incident. UC was offered ibuprofen. UC received the medication. The nurse reported two small
                                                 scratches on UC's right arm, a small abrasion on UC's right forearm, five small scratches on his left arm and two small scratches on the
                                                 right side of his face. Given UC's allegations, CM reviewed the video and was unable to determine if UC was scratched with a pen because
                                                 there were many staff involved in the incident. A CORRECTION was made to this SIR indicating who else was injured during the incident: At
                                                 the time of the incident, UC                           reported no injuries. Mr. Aboayge, staff reported back pain and called the workers
                                                 compensation nurse. Mr. Razul, staff received a cut on the left side of his face near his nose. He stated [hat the left side of his face was numb
                                                 and it appeared to be swollen. It was recommended that Mr. Razul go to the hospital for medical followup and it was reported [hat he had a
                                                 fractured finger.
    L~ Recommendations(HirtOry)

    Recommendations:                             It is recommended that UC continue to receive case management, mental health, legal, and medical services.
    Reportlng:

     Reported To State Licensing:                 C' Ves f•No                       Date of Report:                                                 Time of Report:

     Was the Incident Investigated?              !' Ves C. No           Date Notified the Incident                                     Case/Confirmation Number
                                                                        will be investigated:
    Explain
     ±~ vrogress of Investigation (History)

    ~±~ Results/Findings of Investigation (History:

     Results/Findings of Investigation:          ADDENDUM 05/03/16: On 05/02/16, Officer Fuchs from the Augusta County Sherriff's Department came to SV1C to review video
                                                 footage from the incident on 04/24/16. Per Officer Fuchs, the Augusta County Sherriff's Department will be pressing felony assault
                                                 charges on both minors Involved in the incident. Per Officer Fuchs, Mr. Razul filed a police report on Saturday, 04130/16 due to
                                                 injuries incurred from the incident (fractured finger). On 05/03/16, CM attempted to notify CAIR Coaltion but there was no answer.
                                                 CM will continue [a follow up.
     Attach Reports/Findings:

    Is CPS Different From State Licensing:        (: Yes !" No

     Reported To CPS:                             C" Yes C~ No                      Date of Report:                                              Time of Report:

     Was the Incident Investigated?               C' Ves C•' No          Date Notified the Incident                                 Case/Confirmation Number:
                                                                         will be investigated:
    Explain

     Results/Findings of Investigation:
     Attach Reports/Findings:

     Reported To Local Law Enforcement:          (' Yes R No                        Date of Report:                                              Time of Report:

                                                                                    Officer Name:                                                 Officer Badge:

     Was the Incident Investigated?               C' Yes f•No            Date Notified the Incident                                  Case/Confirmation Number:
                                                                         will be investigated:
       plain
    U Progress of Investigation (History)

         Rewlts/Findings of Investlgation (History):



     ADDENDUM 05/03/16: On 05/02/16, Officer Fuchs from the Augusta County Sherriff's                   6/10/201610:42:11 AM                         egalla rdo@svjc.org
     Department came to SV1C to review video footage from the incident on 04/24/16. Per
     Officer Fuchs, the Augusta County Sherriff's Department will be pressing felony assault
     charges on both minors involved in the incident. Per Officer Fuchs, Mr. Razul filed a police
     report on Saturday, 04/30/16 due to injuries incurred from the incident (fractured finger.
     On 05/03/16, CM attempted to notify CAIR Coaltion but there was no answer. CM will
     continue to follow up.
     ADDENDUM 05/03/16: On 05/02/16, Officer Fuchs from the Augusta County Sherrift's                   6/10/2016 11:00:48 AM                        egalla rdo@svjc.org
     Department came to SV1C to review video footage from the incident on 04/24/16. Pei
     Officer Fuchs, the Augusta County 5herriff's Department will be pressing felony assault
     charges on bath minors involved in the incident. Per Officer Fuchs, Mr. Razul filed a police
     report on Saturday, 04/30/lfi due to injuries incurred from the incident (fractured finger).
     On 05/03/16, CM attempted to notify CAIR Coaltion but there was no answer. CM will
     continue to follow up. ADDENDUM: On 06/10/16, SV1C Program Manager reported that
     Investigator Fuchs from the Augusta County Sherriff's office will not be moving forward
     with the investigation (SIR 04/24/16). Per Mr. Fuchs, they will not he charging previous
     Staff; Mr. Razul or UC                            CM requested not to notify his mother.


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     Reported 6y Elsa Gallardo

     Results/Findings of Investigation:   ADDENDUM 05/03/16: On 05/02/16, Officer Fuchs from the Augusta County Sherriff's Department came to SV1C to review video
                                          footage from the incident on 04/24/16. Per Officer Fuchs, the Augusta County Sherriff's Department will be pressing felony assault
                                          charges on both minors involved in the incident. Per Officer Fuchs, Mr. Razul filed a police report on Saturday, 04/30/16 due to
                                          injuries incurred from the incident(fractured finger). On 05/03/16, CM attempted to notify CAIR Coaltion but there was no answer.
                                          CM will continue to follow up. ADDENDUM: On 06/10/16, SV1C Program Manager reported that Investigator Fuchs from the Augusta
                                          County Sherriff's office will not 6e moving forward with the investigation (SIR 04/24/16). Per Mr. Fuchs, they will not be charging
                                          previous Staff; Mr. Razul or UC                            . UC requested not to notify his mother. Reported by Elsa Gallardo
     Attach Reports/Findings:

    ORH Notiflcallons:



                                          Jessie Mansilla              ORR/Ff5                 4/25/2016            11:30 AM          jessie.mansilla@acf.hhs.g X024014844

                                          Patrice West                 ORR/PO                  4/25/2016            1130 AM            rhonda.west@acf.hhs.gov 2024015999

                                          DCS Medical                  Medical Coordinator

                                          Patricia Melendres           Case Coordinator        4/25/2016            11:30 AM           patricia.melendres~dgdlt.c d0358~6557

                                          Mark Bennett                 CFS                     4/25/2016            11:30 AM           mark.bennett@acf.hhs.gov 2022605738

                                          SIR Hotline                  SIR Hotline             4/25/2016            11:30 AM           sirhotllne~acf.hhs.gov     2024015709

                                          Rebecca 5chreuder            GDIT                    4/25/2016            11:30 AM           rebeccaschreuder@gdit.co 475520202

    AIM NOt~f~tit{0119:

    Is this an SIR for a Runaway?          C' Yes (•' No

                                          Title                 Name                 Date Notified       Time Notified      Method of NotiFcatian     Spxify




                                          Staff Filing Report            Elsa Gallo rdo                  Case Manager               egallardo@svjc.org          5408860729

                                          Contact for Follow-Up         Elsa Gallardo                    Case Manager               egalla rdoIDsvjc.org        5408860729




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                                                                                                                                                                                                         EXHIBIT

                                                                                           '.                                                                                                      ~      B_6
                                              First Name:                                                                       Status:                           ADMITTED
                                              Last Name:                                                                        AKA:

                                              Date of Birth:                                                                    Gender:                           M
                                              A No.:                        208373337                                           LOS:                              248
                                              Age:                          16                                                  LOC:                              501
                                              Child's Country of Birth:      Mexico                                             Current Program:                  Shenandoah Valley Juvenile Center

                                              Admitted Date:                4/15/2016                                           Current Location:                 Staunton, VA

                                                                            85/2015
                                              ORR Placement Date:


     Event Type:       SIR Event
     Date of Event:    12/17/2016                                         Time of Event: 04:00 PM                                              Event ID:           65972


    Synopsis of        UC was removed from regular programming for physical aggression and assault on staff
    Event:


     C~ Emergenty 5lR                         f? SIR

    SIR

     r Abuse/Neglect in ORR                                            —seiF:~t-                                                     Alleged Perpetrator.                    ~ -SE'~~=;
                                                                                                                                                                                    '   ..
     Care

     r Past Abuse/Neglect Not in ORR                 r Ahuse In Home Country                                                      r Ahuse On Journey
     Care                                            r N egIect/Aband onment'in th e Home Country                                 r Neglect/Aha ndo n ment in the United States

                                                     r Ahuse In United5tates                                                      r Other

                                                     r Abuse In DHS Custody                                                      Specify:

                                                          r Physical Abuse In ICE Custody

                                                          r Sexual Abuse In ICE Custody

                                                          r Physical Abuse In C8P Custody

                                                          r Sexual Abuse In CBP Custody

                                                          r Other

                                                         Specify:

            Major Behavioral Incidents that          r Possession/Use of a Weapon                                                 r Physical Aggression/Harm to Others
     threaten safety                                 r Suicidal Ideation                                                          r Use of Drugs and/or Alcohol in ORR Custody

                                                     r Verbal Aggression                                                          r Self-injurious Behaviors/Self Mutilation

                                                     r Other                                                                      r Suicide Attempt/Gesture

                                                     Specify:

     r Runaway                                       r Runaway                        r Attempted Runaway

     r Incidents Involving Law                       r Search                                                                     r Investigate/Response
     Enforcement                                     r Interview                                                                  r Arrest

                                                     r Other

                                                     Specify:

            Safety Measures                          ~ One-on-One Supervision                           ~ Use of Restraints                                r Pat-Down or Other Searches

     r Criminal History                              r Significant Criminal History in Home Country

                                                     r Significant Criminal History in United States

                                                     r Other

                                                     Specify:

     r Pregnancy Related                              C' Pregnancy                      (` Childbirth                           r Termination Request
     Issues                                               Please describe how the pregnancy occurred and if there are any medical complications related to the pregnancy:

     r Other                                         r ContaR or Threats to UC while in ORR Care (from smuggling syndicates, organized crime, other criminal actors)

                                                     r Other

                                                     Specify:

     Inc(dent lnfwmation:
     Did the incident take plate at another          (` Ves C~ No Care Provider Name:              -- Selec~ Provider Name --
     care provider facility?                                                               _ Sei~, i N,c_~~~,: c~~~ ~- Care Provider State: ~.=d=._ ~ r: ~.~ ~"~ s"'"
                                                                     [are Provider City:

      Location of Incident:                     Hou:i~g nrea          Date Reported To Care Provider:           iz/1~/zaib                     Time Reported 7o Care Provider:               oa:ss aM

      Other Specify:                     Dei[a pad                     Date Reported To ORR:                    1z/17/zoi6                     Time Reported To ORR:                         o6:so Pnn



     l=1 Deuripdon of Incident(H~nory)



     On 12/17/16 at 4:00PM, UC                                  was in his room aher choosing to be       12/19/20164:10:31 PM                                    ealeman@svjc.org

      removed from regular programming earlier in the day. During an intensive watch check,
     Staff; Mr. Moats noticed that one of the buttons from UC's sink was missing. While in his
      room, UC had displaced the toilet paper holder knocking it into the chase. Mr. Moats
     opened the chase and ensuring the metal piece was retrieved. Since the opening allowed
     immediate access to the plumbing area, it was determined that UC would need to move[o
     another room. Mr. Moats, Ms. Thacker and Mr. Vasquez verbally redirected UC giving him



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     several options, but UC refused to move and would not allow staff to open the door. UC
     pulled the other knob from the sink and began to bang it on the sink. Mr. Landeata and Mr.
     Chipps also verbally redirected UC for several minutes, but he continued to refuse to
     comply. At ihls time, the shield was utilized and staff entered UCs room. UC Immediately
     became combative. With no time for less intrusive intervention, UC was placed in a
     physical restraint and placed on the Boor for the safety of UC, staff, and other minors.
     During this struggle, UC 6it Mr. Hahn on the right forearm. Once on the floor, UC was
     placed in hand restraints and leg restraints. UC then began beating his forehead against
     the floor, and staff placed his mattress under his head to avoid any self-injury. During
     this time,staff continued verbal intervention but UC was refusing to calm down. Due to
     UCs wntlnued violent behavior, UC was placed in the restraint chair. UC was then
     transported to the Intensive Supervision Room where he was on 1:1 supervision by staff.
     Once UC was a61e to calm down, UC was transported back to hfs room and released from
     the restraint chair. Following the Incident, UG complained of pain in his right pinky and
     ring finger. UC was able to move them and squeeze them together. UC appeared to have
     several red marks below his chin, jawline,forehead, and above his eyes. UC was offered
     ice and Ibuprofen by staff, but UC refused. UC did allow staff to apply a cold compress on
     his head and eyes. In addition, Staff; Mr. Hahn received a bite on his right arm. Staff
     received wound care and the nurse hotline was called; staff did not requ(re further


    Description of Incident:(Full Description Case manager and clin(cian met with UC to follow up on his recent removal from programming. During conversation, UC made allegations
    of Incident)                               that a staff member pressed UC's eyes In an aggressive manner while UC was being restrained. UC further explained that he bit this staff
                                               member in response to staWs aggression. UC provided details that this occurred while he In the restraint chair, outside of his room, and
                                               after staff had placed the spit on mask on UC. Reported by Evenor Aleman

     Was the UC or Anyone Else Injured7:          f: Ves (" No                                    SpeCi(y: UC had pain In his right pinky and ring Flnger. UC had red marks E

     Actions Taken
    U Staff Response and Intervention (History)


     On 12/17/16 at 4:OOPM, staff was conducting an intensive watch check of UC ~ ~'                  12/19/20164:10:31 PM                                 ealeman@svjc.org
                     when they noticed one of the buttons from the sink was missing. Since UCs
     destruction of property exposed the plumbing area, staff determined that UC would need
     to move to another room. Staff verbally redirected UC giving him several options, but UC
     refused to move and would not allow staff to open the door. Staff continued verbally
     redirecting UC for several minutes without success. At this time, staff utilized the shield
     and entered UC's room. Upon entering UC attempted to attack staff. With no time for less
     intrusive intervention, staff placed UC in a physical restraint and placed him on the floor
     for the safety of UC, staff, and other minors. During this struggle, Staff; Mr. Hahn was bit
     on the right forearm. Once on the floor, staff placed UC in hand restraints and leg
     restra(nts. Staff then placed a mattress under UC's head to avoid any self-injury, since UC
     was beating his forehead on the floor. During this time, staff continued using verbal
     intervention to get UG to calm down. Due to UC's continued violent behavior, staff placed
     UC in the restraint chair for the safety of UC and staff. Staff then transported UC to the
     Intensive Supervision Room, where staff provided UC with 1:1 supervision. Once UC
     calmed down,staff transported UC back to his room and released UC from the restraint
     chair. Following the Incident, staff offered UC ice and ibuprofen for the injuries he
     reported. When UC refused, staff provided UC a cold compress far his head and eyes. Staff,
     Mr. Hahn reported a bite injury to his arm and called the nurse hotline.
    Staff Response and Intervention            Case manager and clinician reviewed camera footage for 12j17/16 at 04:OOPM. Prior to UC being secured in the restraint chair, a spit mask
                                               was placed over UC's head while being restrained in his room. Incident report stated that Mr. Hann was bitten during the restraint. Camera
                                               footage shows Mr. Hann exiting UC's room and examining his left forearm. At 04:11PM,floor staff Mr. Hann was observed placing both
                                               hands on UC's head on two separate occasions (n an attempt to secure UC in the restraint chair. At no point did UC appearto bite Mr. Hann
                                               while in the restraint chair. Reported 6y Evenor Aleman
         Follow-up snd/or Resolu8on(Hktory)


     In accordance with the Shenandoah Valley Juvenile Center's behavioral management                 12/18/2016 1:11:20 PM                                 ccontreras@svjc.org
     policy, UC                        was removed from regular programming for physical
     aggression and assault on staff. UC's behavior will continually he evaluated in order to
     expedite UC's reintegration Into regular programming while maintafn(ng the safety of UC,
     staff, and other minors. Removal from programming will not exceed 24 hours without
     administrative approval. Following reintegration, Clinician and Case Manager will meet
     with UC to discuss safety concerns and behavioral management. Follow up will be
     documented in UC's individual progress notes and case manager notes.
     Follow-up and/or Resolution:              On 12/18/16 at 10:45AM, UC                                continues to destroy property and display aggressive and threatening behavior. Due to
                                               continued safety concerns with his aggressive behavior, UC continues to be adm(nistratively removed from regular programming for the
                                               safety of UC, staff, and other minors in the program.
     i=1 Recommendations (History)

     Recommendations:                          It is recommended that UC                              continue to receive case management, clinical, medical, and legal services.
     Reporting:

     Reported To State Licensing:              f Yes (~ No                        Date of Report:                                                          Time of Report:




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     Was the Incident Investigated?              fYes (~ No             Date Notified the Incident                                  Case/Confirmation Number:

                                                                        will be investigated:

    Explain

    U progress of Investigat(on (History)

    ~~ Resulu/Findings of Inuestigatlon (History):

    Results/Findings of Investigation:

     Attach Reports/Findings:

    Is CPS Different From State Licensing:        C•' Ves (~ No

     Reported To CPS:                            G Yes (" No                        Date of Report: 1z/19/2m5                                Time of Report: al:zo PM

     Was the Incident Investigated?              C' Yes G No            Date Notified the Incident                                Case/Confirmation Numher: NSA

                                                                        will 6e investigated:

    Evplain                                      N/A; Pending pending investigation

    Results/Findings of Investigation:

     Attach Reports/Findings:

     Reported 7o Local Law Enforcement:         (' yes C•' No                       Date of Report:                                          Time of Report:

                                                                                    Officer Name:                                             Officer Badge:

     Was the Incident Investigated?              C' Ves (•' No          Date Notified the Incident                                Case/Confirmation Number:

                                                                        will be Investigated:

    Explain

     +~ Progress of Invertigation ~Nistory)

    C~   Results/Findings ofinves[igation(History):

    Results/Findings of Investigation:

     Attach Reports/Findings:

    ORN Notiflcatlans:



                                                 Jessie Mansilla              ORR/FFS                 12/17/2016       06:50 PM         jessie.mansilla @acf.hhs.g Q024014844

                                                 Joseph Flippin               ORR/PO                  12/17/2016      106:50 PM         )oseph.flippin@acf.hhs.go 2024014863

                                                                              Medical Coordinator

                                                 Patricia Melendres           Case Coordinator        12/17/2016       06:50 PM         patricia.melendres~lGD1T.       5876557

                                                  Mark Bennett                CFS                     12/17/2016       06:50 PM         mark.bennett@acf.hhs.gov 2022605738

                                                 SIR Hotline                  SIR Hotline             12/17/2016       06:50 PM         s(rhotltne@acf.hhs.gov      2014015709

                                                 Rebecca Schreuder            GDIT Supervisor         12/17/2016       06:50 PM         rebecca.schreuder@GDIT.c        75520202

    Other NotiflaUons

    Is this an SIR for a Runaway?                (~ Yes r No

                                                 Title                 Name                 Date Notified   'l7me Notified   Metbod of Noti£cation    Specify



                                               ~__                                                                                             1-
    Reporter and Folbw-Up Conta[C



                                                 Staff Filing Report           Carina Contreras             Case Manager              ccontreras@svjc.org         5408860729

                                                 Contact for Follow-Up         Elsa Gallardo                Case Manager              egallarda~svjc.org          5408860729




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                                                                                                                                                                                                EXHIBIT
                                                                                                                                                                                                B-~
                                          First Name:                                                                      Status:                          ADMITTED
                                          Last Name:                                                                        AKA:
                                          Date of Birth:                                                                    Gender:                         M
                                          A No.:                         208373337                                          LOS:                            458
                                          Age:                           16                                                 LOC:                            711
                                          Chiid's Country of Birth:        Mexico                                           Current Program:                Shenandoah Valley Juvenile Center
                                          Admitted Date:                 4/15/2016                                          Current Location:               Staunton, VA
                                                                         85/2015
                                          ORR Placement Date:


    Event Type:    SIR Event
    Date of Event: 7/17/2017                                         Time of Event: 01:30 PM                                              Event lD:           102393


    Synopsis of         Previous Self Harm Behavior
    Event:


     r Emergency SIR                       r SIR
    SIR

     r Abuse/Neglect in ORR                                         --.select--                                                  Alleged Perpetrator:                  - -S"~"'-
     Care

     r Past Abuse/Neglect Nat in ORR             r Abuse In Home Country                                                      r Abuse On Journey
     Care                                        r Neglect/Abandonment in the Home Country                                    r Neglect/Abandonment in the United States

                                                 r Abuse In United5tates                                                      r Other

                                                     r Abuse In DHS Custody                                                  Specify:

                                                        r Physical Abuse In ICE Custody
                                                        r Sexual Abuse In ICE Custody
                                                        r Physical Abuse In CBP Custody
                                                        r Sexual Abuse In CBP Custody

                                                        r Other
                                                        Specify:

     ~ Major Behavioral Incidents that               r Possession/Use of a Weapon                                             r Physical Aggression/Harm to Others
     threaten safety                                 r Suicidal Ideation                                                      r Use of Drugs and/or Alcohol in ORR Custody

                                                     r Verbal Aggression                                                      Q Self-injurious Behaviors/Self Mutilation

                                                     r Other                                                                  r Suicide Attempt/Gesture

                                                 Specify:

     r Runaway                                       r Runaway                      r Attempted Runaway

     r Incidents Involving Law                       r Search                                                                 r Investigate/Response
     Enforcement                                     r Interview                                                              r Arrest

                                                     r Other
                                                 Specify:

     r Safety Measures                           r One-on-One Supervision                            r Use of Restraints                             r Pat-Down or Other Searches

     r Criminal History                          r Significant Criminal History in Home Country
                                                 r Significant Criminal History in United States
                                                 r Other

                                                 Specify:

     r Pregnancy Related                         (' Pregnancy                        r Childbirth                          (' Termination Request
     issues                                             Please describe how the pregnancy occurred and if there are any medical complications related to the pregnancy:

     r Other                                     r Contact or Threats to UC while in ORR Care(from smuggling syndicates, organized crime, other criminal actors)
                                                 r Other

                                                 Specify:

    InddenHnfmmation:
     Oid the incident take place at another          r Vey r No CafO PfOVidEf NBm2'             -Select Provider Name --
     care provider facility?
                                                                   Care Provides City:   - Se~P~~ °rOO1~F~ c~« - Care Provider State: sa.~~+ n:~.:~, r,,,s~a~~~ -

     Location of Incident:                       o[her             Date Reported To Care Provider:           ~~l~~zol~                    Time Reported To Care Provider:          o1:3o vM

      Othef Sp ECify:                   Alph     ~                  Date Reported To ORR:                    ~~17~~017                    Time Repotted To ORR:                    05:30 PM



     Description of incident:(Full Description Clinician met with UC to explore his current functioning and his case plan. UC presented with blunted affect, poor eye contact, and
     of Incident)                              depressed mood. UC reported feeling angry and tired of being detained. Initially, UC had no interest in discussing his current case plan and
                                               voiced general apathy towards his asylum case as well as his upcoming 1DR court. UC provided terse answers regarding his current
                                               functioning as well. When asked to elaborate his answers, UC consistently stated "I don't know." After a period of silence, UC was able to
                                                 provide insight regarding his current thoughts as well as how he spent the weekend. At this time, UC reported that he participated in self
                                                 harm behavior throughout the weekend. UC had difficulty providing specifics but did report that he used a small piece of a broken file from
                                                 his housing pod showers. UC explained that he handed over the small piece of file as well as a small clear piece of plastic to staff. UC had
                                               difficulty providing insight into his behavior but denied any current SI as well as having any other sort of contraband. UC reported that he
                                               did receive medical care throughout the weekend. UC also stated that he had reopened a previous cut he had let heal over. Clinician voiced
                                               appreciate towards UC's willingness to speak about his self-harm behavior. Clinician attempted to update UC's safety/behavioral plan to


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                                                  address any future thoughts/incidents of self harm; UC refused to participate. Clinician respected 11 C's decision and encouraged UC to reach
                                                  out to his treatment team if he struggled with continued thoughts of self harm. After session, Clinician spoke with shift supervisors to gather
                                                  details of UC's self-harm behavior during the weekend.

     Was the UC or Anyone Else Injured7:               (~ Yes ~' No                                              Specify: UC had a self Infllicted wound on kft wdzt.

    Actions Taken
    Staff Response and Intervention               Shift Supervisors provided the following: On Friday 07/14/17 Shift Supervisor, Mr. Wilson, passed along to night shift that UC was observed
                                                  to have a fresh cut on his left wrist at 1815, and that his shift applied wound care. At 2030, UC's wound was observed to have bled through
                                                  the band aid, so another bandage was reapplied. At shower time, UC's wound appeared to have bled through again and on his clothes, floor
                                                  etc, while UC was on the phone. It is suspected that UC had irritated his cut between receiving wound care. While UC was receiving wound
                                                  care after his shower, Shift Supervisor, Ms. Craft, encouraged UC to note further irritate his cut. UC agreed to no longer irritate his wound.
                                                  told him NOT to he pushing on it and to leave it alone. UC agreed that he would not mess with it. Assistant Shift Supervisor, Mr. Moats,
                                                  searched UC's room thoroughly while he was on Echo this evening and found nothing. When asking UC what he cut on his aim with, UC
                                                  described a small piece of the or cement. UC stated that he flushed it down the toilet. On Saturday 07/15/17 At 1925, UC had opened up his
                                                  wound on his left wrist again, causing blood to drip from it. Pressure applied until bleeding stopped then wound care given. UC gave Floor
                                                  Staff, Mr. Pacheco, a very tiny blue piece of file that he said he had used. At 2030 UC had pushed at his wound causing it to bleed through the
                                                  bandage and then removed bandage. Pressure again was applied until bleeding stopped and wound was re-bandaged. At 2130, UC received
                                                  wound care again after his shower, and at that time he gave Assistant Shift Supervisor, Ms. Bolen, another tiny blue piece that appeared to
                                                  be some type of plastic. UC went on to sleep after without further incident.
    Follow-up and/or Resolution:                  Clinician informed SV1C Program Manager regarding contraband issue (e.g. blue tile). UC will continue to be monitored by staff for any
                                                  additional wound care necessary by the nurses for the self-inflicted wounds. UC will remain on Intensive Watch for his own safety.
    Recommendations:                              It is recommended that UC                                          continue to receive case management, clinical, legal, and medical services.
    Reporting:

     Reported 7o State Licensing:                (" Ves r No                                  Oate of Report:                                                                Time of Report:

     Was the Incident Investigated?              (" Ves ~' No                 Date Notified the Incident                                                   Case/Confirmation Number:
                                                                              will be investigated:
    Explain

    Results/Findings of Investigation:
     Attach Reports/Findings:

    Is CPS Different From State Licensing:         r Yes fNo

     Reported To CPS:                            (' Ves (•' No                                Date of Report:                                                           Time of Report:

     Was the Incident Investigated?               (~ Yes f~ No                Date Notified the Incident                                                Case/Confirmation Number:
                                                                              will 6e investigated:
    Explain

    Results/Findings of Investigation:
     Attach Reports/Findings:

     Reported Ta Local Law Enforcement:           (` Yes r No                                 Date of Report:                                                           Time of Report:

                                                                                              Officer Name:                                                                 Officer Badge:
     was the Incident Investigated?               (" Yes ~' No                Date Notified the Incident                                                Case/Confirmation Number:
                                                                              will he investigated:
    Explain

    Results/Findings of Investigation:
     Attach Reports/Findings:

    ORR NotficaUons:
                                             .. _...                           -..--.             r.:r.:~~ ..   .. .ter.. __s..,.. .~.._ w~_.   ,~^~,-w~,~«. ~s~a <..~: -             ,Y,.~   ~.~w.~   n., m.~.;, .,.~


                                                   Jessie Mansilla                      ORR/FFS                     7/17/2017              05:30 PM              Jessie.Mansila@acf,hhs.g 1024014844

                                                   Rachel Jacobs                        ORR/PO                      7/17/2017              05:30 PM              rachel.jacobs~alacf.hhs.gov 2024012332
                                                                                        Medical Coordinator
                                                   Patricia Melendres                   Case Coordinator            7/17/2017              05:30 PM              patricia.melendres@gdk.c x035876557
                                                   Mark Bennett                         CFS                         7/17/2017              05:30 PM              mark.Bennett@acf.hhs.gov 2022605738

                                                   DCS Hotline                          SIR Hotl(ne                 7/17/2017              05:30 PM              strhotline@ad.hhs.gov             2025075709
                                                   Rebecca Schreuder                    GOIT Supervisor             7/17/2017              05:30 PM              rebecca.schreuder@gdit.co 475520202
    Other NotMlcaUons
    I5 this an SIR for a Runaway?                  (~ Yes (~ No

                                                   Title                     Name                     Date Notified           Time Notified         Method of Notification          Spxify




                                                       staff Filing Report               Evertor Aleman                      ORR Clinician                    ealeman@svjc.org                  5408860729

                                                       :onUck for Folbw•Up               Evenar Akman                        ORR Cltndan                      ealeman~svjc.org                  5408860729




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                                              First Name:                                                                   Status:                           ADMITTED
                                              Last Name:                                                                    AKA:
                                              Date of Birth:                                                                Gender:                           M
                                              A No.:                         208373337                                      LOS:                              490
                                              Age:                            17                                            LOC:                              743
                                              Child's Country of Birth:       Mexico                                        Current Program:                  Shenandoah Valley Juvenile Center
                                              Admitted Date:                 4/15/2016                                      Current Location:                 Staunton, VA
                                                                             85/2015
                                              ORR Pla[ement Date:


     Event Type:    SIR Event
     Date of Event: 8/17/2017                                           Time of Event: 02:00 PM                                          Event ID:             105041

     Synopsis of       On 08/17/17 at 02:OOPM, UC was removed from programming for disruptive and threatening behavior
     Event:


     (~ Emergency SiR                          C•' SIR
    SIR

     r Abuse/Neglect in ORR                                            -~>~iF-r.~~-~                                              Alleged Perpetrator:                   --s=~~<'~ -
     Care

     r Past Abuse/Neglect Not in ORR                   r Abuse In Home Country                                                r Ahuse On Journey
     Care                                              r   Neglect/Abandonment in the Home Country                            r    Neglect/Abandonment in the United States
                                                       r Abuse In UnitedStates                                                r O[her
                                                       r Abuse In DHS Custody                                                Specify:

                                                           r Physical Abuse In ICE Custody
                                                           r Sexual Abuse In ICE Custody
                                                           r Physical Abuse In CBP Custody
                                                           r Sexual Abuse In CBP Custody
                                                           r Other
                                                           Specify:
            Major Behavioral Incidents that            r Possession/Use of a Weapon                                           r Physical Aggression/Harm to Others
     threaten safety                                   r Suicidal Ideation                                                    r Use of Drugs and/or Alcohol in ORR Custody
                                                       r Verbal Aggression                                                    r Self-injurious Behaviors/Self Mutilation
                                                       r Other                                                                r Suicide Attempt/Gesture
                                                     Specify:
     r Runaway                                         r Runaway                       r Attempted Runaway
     r Incidents Involving Law                         r Search                                                               r Investigate/Response
     Enforcement                                       r Interview                                                            r Arrest
                                                       r Other
                                                     Specify:
     r Safety Measures                                 r One-on-One Su pervision                       r Use of Restraints                               r Pat-Down or Other Searches
     r Criminal History                                r Significant Criminal History in Home Country
                                                       r Significant Criminal History in United States
                                                       r Other
                                                     Specify:
     r Pregnanry Related                             (' Pregnancy                        (~ Childbirth                      (' Termination Request
     Issues                                                Please describe how the pregnancy occurred and if there are any medical complications related to the pregnancy:

     r Other                                           r' Contact or Threats to UC while in ORR Care(from smuggling syndicates, organised crime, other criminal actors)
                                                       r Other
                                                     Specify:

     Incident Informatlon:
     Did the incident take place at another          [` Yes G No Care Provider Name:             --5elect Provider Name--
     careproviderfatility7                                                                        r-   ~;y.:~ ~„
                                                                      Care Provider City:                    ~ •Care Provider State         ~-T ~''~'°      ~~-

      Location of Incident:                     Housing nrea          Date Reported To Care Provider:        8~l~~Za1~                   Time Reported 7a Care Provider:               02.39 PM

      Other Specify:                       alpha and                   Date Reported To ORR:                 8/17/101                    Time Reported To ORR:                         04:00 PM



     ~=~ Desuiptlon of Incident(History)


     On 08/17/17, UC entered his roam for a time out and proceeded to cover his window.                  8/18/2017 10:17:56 AM                                ealeman@svjc.org
     While in his room, UC began to be disruptive and kick his door. Due to UC being on five
      minute checks, staff requested that he remove his window covering so they could ensure
      his safety. UC refused to comply or speak to the staff. However, UC continued to kick his
     door to show he was okay. UC's clinician attempted [o speak with UC and advised him to
     remove his window covering [o complete the five minute check but UC also refused to
     speak to his clinician and continued to kick his door. Staff attempted to open UC's door to


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     complete the five minute checks and to covering his window. However, UC was keep(ng his
     door shut with his legs preventing his door from opening. Therefore, staff used their keys
     to open UC's tray slot to get a visual on UC and ensure his safety. As staff opened UC's tray
     slot, UC kicked the tray slot open and grasped at staff's keys before they could remove
     them from the lock. Staff were able to retrieve the keys prevent(ng UC access to them. UC
     continued to he disruptive by kicking his door. UC's tray slot remained open to ensure his
     safety.
     Oescriptian of Incident: (Full ~esuiption Through his tray slot, UC was able to grab his window cover from the outside of his room door. UC was observed tying the window cover
     of Incident)                                around neck. UC then proceeded to lay on his mattress on the floor and feigned passing out. UC refused to respond verbally to staff and
                                                 clinician's attempts at redirection. UC was observed having unlabored, even breathing while he laid on his mattress. Clinician also observed
                                                 UC occasionally opening his eyes before closing them upon seeing staff and clinician observing him. As verbal interventions were
                                                 exhausted, staff decided to enter UC's room to remove window cover and other Items from UC's room (to reduce further attempts at self-
                                                 harm). UC was observed pulling the window cover tighter around his neck. Mr. Moats, Ms. Craft, and Ms. Thacker, Supervisors, began to
                                                 remove window cover from UCs neck. UC began to struggle and resist as staff removed his bedding and other items from his room. Mr. Evans
                                                 and Mr. Grinnan,floor staff, entered UCs room placed UC in a PRT(Evans placed UC in a PRT assisted by Moats, while Grinnan assisted with
                                                 UC's legs). Staff continued to use verbal Intervention until UC was calm enough to be released from the PRT. UC was (n the PRT for
                                                 approximately 3 minutes. Once staff exited and UC was secured in his room, UC was observed rip his shirt out of anger. Clinician attempted
                                                 to engage with UC and help with de-escalation. UC beta me more angered and screamed at clin(cian and staff to "go away." Supervisors
                                                 offered UC to 6e moved to ISR (as he previously mentioned th(s room helps him calm down. UC ignored supervisor's offers and continued to
                                                 rip his shirt Into strips while attempting to wrap them around his neck. UC eventually was responsive to supervisor's redirection and agreed
                                                 to walk to the ISR. UC exited his room to walk to the ISR. At this time, UC moved towards the housing pod's water fountain and proceed to
                                                 punch the pod's N.As there was no time for verbal Intervention, Moats placed UC in a PRT, with Evans ass(sting with UC's legs. Staff lowered
                                                 UC to the ground; Gr(nnan placed handcuffs on UC while Thacker placed leg shackles. UC's shirt and pants were removed to prevent further
                                                 attempts at self-harm. UC was assisted to his feet and placed in the restraint chair. Hand and leg restraints were removed and UC was taken
                                                 to ISR. UC was in mechanical restraints for a total of 3 minutes and was In the restretnt chair for a total of 2 hours. Reported by Evenor
                                                 Aleman

     Was the UC or Anyone Else Injured7:             C: Yes r No                                SpE[ify: UC hit staff twice on his right leg. No Injuries reported by UC.
     Actions Taken
     ~=~ Staff Response and Interventlon (History)
                                                                                                       ~.

     On 08/17/17, staff requested UCto stop hanging on the door and to remove his window              8/18/2017 10:17:56 AM                                ealeman@svjc.org
     covering to they could complete their five minute checks. Due to UC's continued refusal,
     his clinician attempted to speak to UC and also advise him to remove the w(ndow                         _
     covering. UC continued to refuse. Staff attempted to open UC's door to complete the check
     but the door could not be opened as UC was keeping the door shut by pressing his legs
     against the door. Therefore, staff opened UCs door slat. UC attempted to grab staff keys
     from the slot before they had a chance to remove them from the lock but they were able to
     retrieve them. UC's tray slot remained open to ensure his safety.
    Staff Response and Intervention              While UC sat in the restraint chair in ISR, clinician met with UC to discuss his current functioning. UC was tearful and irritable throughout
                                                 conversation. UC blamed his behavior on clinician and facility staff, as he felt they ignored hIs requests to be moved off of housing pod. It is
                                                 Important to note that UC had already spoken with Supervisors regarding his request (in which UC was Informed that he could not move off
                                                 his unit but was offered to spend free time on a different housing unit). Clinician challenged UC's recent behavior by exploring different ways
                                                 of dealing with rejection (specifically ways that aren't as destructive). UC appeared to ignore clinician's attempts and proceeded to vent and
                                                 stated that he wanted to "beat up" certain peers, as he claimed that they encouraged him to tie his window cover around his neck. UC made
                                                 threats of acting out even further, claiming that SV1C will "really see what I can do." UC was able to eventually calm down and but had
                                                 difficulty explaining his recent aggressive behavior. CIInlcian gauged whether UC was somehow triggered to punch the N, based off what
                                                 was being displayed at the time; UC denied any sort of trigger. UC began to ask about what would occur after he was released from the
                                                 restraint char. CI(nician Informed UC that he would spend the remainder of the night In ISR and he'd be able to eat dinner once he was calm
                                                 enough to be removed from restraint chair. Clinician informed that he would 6e requesting staff to provide UC a mattress and a green safety
                                                 blanket as well. UC began upset upon hearing this request, and questioned why he would be given a green blanket vs. normal bedding.
                                                 Clinician explained that this decision was solely based on UC's recent behavior. UC scoffed at clinician's decision and demanded that
                                                 clinician leave ISR. Clinician honored UC;s request and left ISR without further incident. Reported 6y Evenor Aleman
     u Follow-up and/or Resolutlon(HIsWry)


     In accordance with the Shenandoah Valley Juvenile Center's behavioral management                 8/18/2017 10:17:56 AM                                ealeman@svjc.org
     policy, UC                          was removed from regular programing for disruptive and
     threatening behavior. UC's behavior will be continually evaluated in order to expedite
     UC's reintegration into regular programming while ma(ntaining the safety of UC,staff and
     other minors in the program. Removal from programming will not exceed 24 hours,
     without administrative approval. Following reintegretion, CI(nic(an and Case Manager
     will meet with UC to discuss safety concerns and behavioral management. Follow up will
     be documented in UC's individual progress notes and case manager notes.
     Follow-up and/or Resolution:                In accordance with the Shenandoah Valley Juvenile Center's behavioral management policy, UC                                    was removed from
                                                 regular programing for disruptive and threatening behavior and destruction of property. UC's behavior will 6e continually evaluated In
                                                 order to expedite UCs reintegrat(on into regular pragremming while maintaining the safety of UC, staff and other minors In the program.
                                                 Removal from programming will not exceed 24 hours, without administrative approval. Following reintegration, Clinician and Case Manager
                                                 will meet with UC to d(scuse safety concerns and hehaviorel management. Follow up will be documented (n UC's individual progress notes
                                                 and case manager notes.
      _                                                                                         _,.,,.,.         ,..,,.,..,,.m._. _                                 ........-
     ~-~`I Recommendations (History)

     Recommendations:                            It is recommended that UC                           continue [o receive case management, clinical, legal, and medical services.


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     Reporting:

     Reported To State Licensing:               (' Yes f•No                             Date of Report:                                             Time of Report:

     Was the Incident Investigated?              (' yes (~ No           Date Notified the Incident                                      Case/Confirmation Number:
                                                                        will be investigated:

     Explain

     ~=1 Progress of Investigation (History)

     U Results/Findings of Investigation (History):

     Results/Findings of Investigation:

     Attach Reports/Findings:

     Is CPS Different From State Licensing:      (: Ves (' No

     Reported To CPS:                            C" Yes f~ No                           Date of Report:                                          Time of Report:

     Was the Incident Investigated?             (' Yes C•' No           Date Notified the Incident                                   Case/Confirmation Number:
                                                                        will be investigated:

     Explain

     Results/Findings of Investigation:

     Attach Reports/Findings:

     Reported 7o Local Law Enforcement:          C' Yes !~ No                           Date of Report:                                          Time of Report:

                                                                                        Officer Name:                                             Officer Badge:

     Was the Incident Investigated?             (' Yes C•' No           Date Notified the Incident                                   Case/Confirmation Numher:
                                                                        will be investigated:

     Explain

     U progress of Investigation (History)

     ~~ Rewlts/Findin6s of Investigation (History):

     Results/Findings of Investigation:

     Atta[h Reports/Findings:
                                                                                    _                                         _                            ..
     ORR NotMicatlans:



                                                 Jessie Mansilla              ORR/FFS                   6/17/2017       04:00 PM            jessie.mansilla@acf.hhs.g 1024014844

                                                 Rachel Jacobs Gainor         ORR/PO                    8/17/2017       04:00 PM            rachel.jacobs~ad.hhs.gov 2024012332

                                                                              Medical Coordinator

                                                 Patricia Melendres           Case Coordinator          8/17/2017       Q4:OOPM             patricia.melendres~gdtt.c 4035876557

                                                 Mark Bennet                  CFS                       8/17/2017       04:00 PM            mark.bennett@acF.hhs.gov 2024014827

                                                 SIR Hotline                  SIR Hotline               8/17/2017       04:00 PM            sirhotline@ad.hhs.gov          2024035709
                                                                —__
                                                 Rebecca Schreuder            GDIT Supervisor           8/17/2017       04:00 PM            Rebecca.Schreuder@GDIT.c         75520202

     OMer NatiR~tians:

     Is this an SIR for a Runaway?               (' Ves G No

                                                 Title                 Name                 Date Notified     Time Notified       Method of Notification        Specify




                                                 Contact for Follow-Up         Elsa Gallardo                 Case Manager                 egallardo@svjcorg               5408860729

                                                 Staff Filing Report           Elsa Gallarda                 Case Manager                 egallardo@svjc.org              5408860729




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                                                                                                                                                                                               EXHIBIT

                                                                                                                                                                                                B-9
                                             First Name:                                                                  Status:                           ADMITTED
                                             Last Name:                                                                   AKA:
                                             Date of Birth:                                                               Gender:                           M
                                             A No.:                         208373337                                     LOS:                             494
                                             Age:                           ~7                                            LOC:                              747
                                             Child's Country of Birth:      Mexico                                        Current Program:                 Shenandoah Valley Juvenile Center
                                             Admitted Date:                4/15/2016                                      Current Location:                Staunton, VA
                                                                           85/2015
                                            ORR Placement Date:


     Event Type:       SIR Event
     Date of Event:    8/21/2017                                       Ttme of Event: 03:00 PM                                         Event ID:             105361


     Synopsis of       Self Harm Behavior
     Event:


     C~ Emergency SIR                         C~ SIR

     SIR

     r Abuse/Neglect in ORR                                           --srir,~c--                                              Alleged Perpetrator;                    --seierr--

     Care

     r Pait Abuse/Neglect Nat in ORR                  r Ahuse In Home Country                                              r Abuse On Journey
     Care                                             r   Neglect/Ahandonment in the Home Country                          r     Neglect/A6andonment in the United States

                                                      r Abuse In United5tates                                              r Other

                                                      r Abuse In DHS Custody                                               Specify:

                                                          r Physical Abuse In ICE Custody

                                                          r Sexual Abuse In ICE Custody

                                                          r Physical Abuse In CBP Custody

                                                          r Sexual Abuse In CBP Custody

                                                          r O[her

                                                          Specify:

     r Major Behavioral Incidents that                r Possession/Use of a Weapon                                         r Physical Aggression/Harm to Others
     threaten safety                                  r Suicidal Ideation                                                  r Use of Orugs and/or Alcohol in ORR Custody

                                                      r Verbal Aggression                                                  r Self-injurious Behaviors/Self Mutilation

                                                      r Other                                                              r Suicide Attempt/Gesture

                                                    Specify:

     r Runaway                                        r Runaway                       r Attempted Runaway

     r Incidents Involving Law                        r Search                                                             r Investigate/Response
     Enforcement                                      r Interview                                                          r Arresi

                                                      r Other

                                                    Specify:

     r Safety Measures                                r One-on-One Supervision                      r Use of Restraints                            r Pat-Down or Other Searches

     r Criminal History                               r Significant Criminal History in Home Country

                                                      r Significant Criminal History in United States

                                                      r Other

                                                    Specify:

     r Pregnancy Related                              l' Pregnancy                     (" Childbirth                      l' Termination Request
     Issues                                               Please describe how the pregnancy occurred and if there are any medical complications related to the pregnancy:

     r Other                                          r Contactor Threats to UC while in ORR Care(from smuggling syndicates, organized crime, other criminal actors)

                                                      r Other

                                                    Specify:

     Inddent Infamatbn:
     Did the incident take place at another         (` yes t•' No Care Provider Name:           --seiecc vm~~de~rvame--
     careproviderfaNiity7                                                                            ~                                                     ,~,
                                                                     Care Provider City:          °~ -_~ -'~t Care Provider State     `° ~~~4 r''°. i ~ `.. -

      Location of Incident:                    Housing area          Da[e Reported To Care Provider:       8/21/2017                   Time Reported To Care Provider:              07:15 PM

      Other Specify:                      Alpha Pod                   Date Reported To ORR:                8/11/2017                   Time Reported To ORR:                        05:10 PM



     U Descriptlon of Incident(History)



      )n 08/21/17 at 3:OOpm, UC participated in self harm behavior. Pending full investigation. 8/22/2017 2:55:27 PM                                        ealeman@svjc.org
      ollow up will be provided in a SIR Addendum.

     Description of Incident:(Full Description UC requested to use the bathroom in his room. When coming out of his room, UC was observed covering his right cheek with his right hand.
     of Incident)                                 UC proceeded to housing pod water fountain and began looking at his right cheek using pod mirror. UC then returned back into his room. At
                                                  this time, Mr. Oldham, Floor Staff, observed that UC had put a piece of wire through his right check. Reported 6y Evenor Aleman 08/22/2017

     Was the UC or Anyone Else Injured7:              (: yes (~ No                                Spe~i{y: ut was offered medid~e for pain huc refu:ed.

     Actions Taken


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         Staff Response and lerterventlon (History)



      Pending full investigation. Follow up will be provided in a SIR Addendum.                         X8/22/2017 2:55:27 PM                        ~ealeman@svjc.org
     Staff Response and Intervention              Shift Supervisors and Nursing staff were notified and arrived on housing pod and check UC's piercing. Uc pretended that he was going to
                                                  pierce his left check with the same wire in his mouth. UC initially refused to le[ nursing staff remove or euamine wire. Through
                                                  encouragement, UC agreed to let nursing staff to remove wire. Once wire was removed, UC requested to stay in his room instead of attending
                                                  gym. Oldham continued to provide supervision while he noticed that UC had another piece of wire. When asked for it, UC was observed
                                                  placing remaining wire into his mouth and refused to provide item. Shift Supervisors and additional staff arrived on housing pod again, in
                                                  preparation of possible use of force (in order to obtain wire). Through verbal redirection and further encouragement, UC ended up handing
                                                  over wire to floor staff without further incident. Reported by Evenor Aleman 08/22/2017

     L1 Follaw-uP and/or Resolutlon (History)



     Pending full investigation. Follow up will be provided in a SIR Addendum.                          8/22/2017 2:55:27 PM                         ealeman@svjc.org

     Follow-up and/or Resolution:                 On 08/22/2017, Clinician met with UC to discuss recent behavior. UC refused to speak about his behavior and minimized any reported
                                                  information given to clinician by shift supervisors. However, UC did confirm that the wire he had was from a small, spiral notebook that he
                                                  found in school earlier in the day. Reported by Evenor Aleman 08/22/2017

         Rerommandations(Hirtory)



     Pending full investigation. Follow up will be provided in a SIR Addendum.                          8/22/20172:55:27 PM                          ealeman@svjc.org

     Recommendations:                             It is recommended that UC                             continue to receive case management, clinical, legal, and medical services. Reported by
                                                  Evenor Aleman 08/22/2017
     Reporting:

     Reported 7o State Licensing:                (" Yes C•' Na                       Date of Report:                                                Time of Report:

     Was the Inddent Investigated                (' Yes C' No            Date Notified the Incident                                     Case/Confirmation Number:
                                                                         will 6e investigated:
     Explain
     _                                                                                                                                                                                       _.._...
     ~+~ Progress of Investigation (History)

     =~ Results/Findings of Investigation (History):

     Results/Findings of Investigation:
     Attach Reports/Findings:

     I5 CPS Different From State Licensing:       (.' Yes (~ No

     Reported To CPS:                             f Ves !~ No                        Date of Report:                                             Time of Report:

     Was the Incident InvestigatedT              (' Ves l" No            Date Notified the Incident                                  Case/Confirmation Number:
                                                                         will he investigated:
     Explain

     Results/Findings of Investigation
     Attach Reports/Findings:

     Reported To Local Law Enforcement:           C' yes (~ No                       Date Of Report:                                             Time of Report:

                                                                                     Officer Name:                                                 Officer Badge:

     Was the Incident Investigated?               C' Yes G No            Date Notified the Incident                                  Case/Confirmation Number:
                                                                         will be investigated:
     Explain

     C~ Progress of Investigation (History

     U Resulu/Findings of Investigation (History):

     Results/Findings of Investigation:
     Attach Reports/Findings:

     ORR Notiflatlons:                                                    ~                   --



                                                  Rachel Jacobs                ORR/PO                  8/21/2017         05:15 PM           rachel.jacobs@acf.hhs.gov 2024012332

                                                                               Medical Coordinator

                                                  Patricia Melendres           Case Coordinator        8/21/2017         05:15 PM           patricia.melendres@gdit.c 4035876557

                                                  Mark Bennett                 CFS                     8/21/2017         05:15 PM           mark.bennett@acf.hhs.gov 2D22605738

                                                  DCS Hotline                  SIR Hotline             8/21/2017         05:15 PM           sirhotline@acf.hhs.gov       2025075709

                                                  Rebecca Schreuder            GDIT Supervisor

                                                  Jessie Mansilla              ORft/FFS                8/21/2017         05:15 PM           lessie.Mansilla@acf.hhs.g 4024014844

     Other Notiflcatbns:
     Is this an SIR for a Runaway?                (" Yes fNo

                                                  Title                 Name                 Date Notified    Time Notified       Method of Notification   Spxify




                                                  Staff Piling Report           Evenor Aleman                 ORR/DCS Clinician           ealeman@svjcorg             5408860729


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                     Contact for Follow-Up   lEvenor Aleman   ORR/DCS Clinician   ealeman@svjcorg   15408860729




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                                                                                                                                                                                                 EXHIBIT
                                                                                                                                                                                           .~a
                                                                                                                                                                                           a
                                                                                                                                                                                                   B-10
                                           First Name:                                                                   Status:                           ADMITTED
                                           Last Name:                                                                    AKA:
                                           Date of Birth:                                                                Gender:                            M
                                           A No.:                         208373337                                      LOS:                              495
                                           Age:                           17                                             LOC:                              748
                                           Child's Country of Birth:      Mexico                                         Current Program:                  Shenandoah Valley luvenlle Center
                                           Admitted Date:                4/15/2016                                       Current Location:                 Staunton, VA
                                                                         85/2015
                                           ORR Placement Date:


     Event Type:    SIR Event
     Date of Event: 8/22/2017                                        Time of Event: 03;20 PM                                         Event ID:               105464

     Synopsis of       On 08/22/17, UC was removed from regular programming for threatening behavior and assault on staff.
     Event:


     (~ Emergency SlR                         C•' SIR
     SIR

     r Abuse/Neglect in ORR                                         -~S:=i=~e~~                                              Alleged Perpetrator.                     --5~~""~ -
     Care

     r Pas[ Abuse/Neglect Not in ORR                r Abuse In Home Country                                                r Abuse On Journey
     fare                                           r Neglect/Abandonment in the Home Country                              r Neglect/Ahandonment in the United States
                                                    r Ahuse In United5[ates                                                r Other

                                                    r Abuse In DHS Custody                                                Specify:

                                                        r Physical Abuse In ICE Custody
                                                        r Sexual Abuse In ICE Custody
                                                        r Physical Abuse In CBP Custody
                                                        r Sexual Abuse In CBP Custody

                                                        r Other
                                                        Specify:

     r Major Behavioral Incidents that              r Possession/Use of a Weapon                                           r Physical Aggression/Harm to Others
     threaten safety                                r Suicidal Ideation                                                    r Use of Drugs and/or Alcohol in ORR Custody

                                                    r Verbal Aggression                                                    r Self-injurious Behaviors/Self Mutilation
                                                    r Other                                                                r Suicide Attempt/Gesture
                                                  Specify:

     r Runaway                                      r Runaway                       r Attempted Runaway

     r Incidents Involving Law                      r Search                                                               r Investigate/Response
     Enforcement                                    r Interview                                                            r Arrest

                                                    r Other
                                                  Specify:

     r Safety Mea5Ure5                              r One-on-0ne Supervision                       r Use of Restraints                               r Pat-Down or Other Searches

     r Criminal History                             r Significant Criminal History in Home Country

                                                    r Significant Criminal History in United States
                                                    r Other
                                                  Specify:

     r Pregnancy Related                          (' Pregnancy                       (` Childbirth                       (' Termination Request
     Issues                                             Please describe how the pregnancy occurred and if there are any medical complications related to the pregnancy:

     r Other                                        r Contact ar Threats to UC while in ORR Care (from smuggling syndicates, organized crime, other criminal actors)

                                                    r Other
                                                  Specify:

     Inddent Information:
     Did the incident take place at another         ~^ yes G No fare Provider Name:           - select vrovider Name--
     careproviderfaciliry7                                                                    ~~~„~~~-~ c„                            ,iF~ i i.~_~      ,,. ~~
                                                                   Care Provider City:                    -~ - Care Provider State

      Location of In[ident:                    Housing Area        Date Reported To Care Provider:        B~ZZ~Zo1~                  Time Report0d To Care Provider:               o<.2o PM

      Other Specify:                    Alpha vod                   Date Reported To ORR:                 8~z2~2o1~                  Time Reported To ORR:                         Oa:3o Pnn



     U Dewiptlon of Incident(History)



     On 08/22/17, UC was removed from regular programming far threatening behavior and                8/23/2017 3:08:42 PM                                 egallardo@svjc.org
     assault on staff. Pending full investigation. Follow up will be provided in a SIR Addendum.
     Description of Incident: (Full Description ADDENDUM 08/23/17: On 08/22/17 at 03:20PM, UC threatened to stab a peer and flashed a makeshift shank. Resident Supervisor, Mr.
     of incident)                                Landaeta immediately intervened and requested UC surrender the modified comb. UC provided the contraband to Mr. Landaeta and UC was
                                                 redirected to enter his room due to his threatening behavior and contraband. UC refused to move from the ta61e. All [he remaining residents
                                                 were requested to enter their rooms far their safety and the resident supervisor's continued to verbally redirected UC to his room. UC
                                                 continued to refuse. As additional staff arrived on the unit, UC stood against the wall to prevent a physical restraint. UC was informed that


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                                                 staff did not want to restrain him and again requested UC[o enter his room on his own. UC continued to refuse for several minutes and then
                                                 walked towards his room. However, instead of entering his room, he grabbed the phone and attempted to rip it off the wall but could not. At
                                                 this time, UC took a fighting stance against the resident supervisors near him. Due [o UC's escalating aggressive behavior, UC was placed in
                                                 a physical restraint for the safety of UC, staff, and other minors in the program. As staff placed him the restraint, UC began punching staff.
                                                 Due to UC's continued aggressive behavior, UC was lowered to the ground. However, UC continued head-butting staff. Due to UC's continued
                                                 attempts to assault staff, UC was placed in mechanical hand and leg restraints. UC continued to struggle and showed no signs of calming
                                                 down. Therefore, after exhausting all forms of less intrusive measures, UC was placed in the emergency restraint chair (ERC) and taken to a
                                                 room off of the unit where a resident supervisor could provide constant supervision. While in the ERC, UC continued to rock the chair in an
                                                 attempt to free himself. Once UC was calm, he was released from the ERC and walked to his room at 05:57PM. UC's mat was returned to him
                                                 at 05:59PM and his blanket was returned to him at 06:03PM. UC was in a physical restraint for approximately 5 minutes, mechanical
                                                 restraints for approximately 4 minutes, and in the ERC for approximately 2.5 hours. Shift Supervisor's checked in with UC when returning his
                                                 bedding and UC did not report any injuries. The nurse checked in on the next morning and UC did not report any injuries. CM checked in on
                                                 UC that afternoon and he did not report any injuries. Mr. Grinnan was kitten on his right ring finger. Ms. Thacker was scratched on her hand.
                                                 Mr. Evans received a wound to his right hand and received wound care. Mr. Oldham reported pain on his neck from being punched. He
                                                 received ibuprofen and called the VML nurse hotline. Reported by CM Elsa Gallardo.

     Was the UC of Anyone EISe Injufed?:           (: yes (~ No                                 Spe[ify: UC did not report injuries. Staff reported Injuries described abo~

     Actions Taken

     U Staff Response end Interventlon (History)



     Pending full investigation. Follow up will 6e provided in a SIR Addendum.                       8/23/2017 3:08:42 PM                                egallardo@svjc.org
     Staff Response and Intervention             ADDENDUM 08/23/17: On 08/22/17 at 03:20PM, Mr. Landaeta immediately responded to a threat to peer with contra6an. Mr. La ndaeta was
                                                 able to retrieve the modified comb from UC and verbally redirected him to his room. Additional staff arrived on the unit to assist and
                                                 redirect, as UC was refusing to comply. Due to UC's increasingly aggressive behaviors, UC was ultimately secured in the ERC. A resident
                                                 supervisor provided constant supervision while UC was in the ERC. Once UC was returned to his room, staff returned UC's mat and hlanket
                                                 that were removed during the incident. Several staff were injured as a result of this incident as specified above.

    0 Follow-up and/ar Razolutlon(Mhtory)



    (Pending full investigation. Follow up will be provided in a SIR Addendum.                       8/23/2017 3:08:42 PM                               legalla rdo@svjc.org

     Follow-up and/ot Resolution:                gODENDUM 08/23/17: In accordance with [he Shenandoah Valley Juvenile Center's behavioral management policy, UC
                                                 was removed from regular programing for threatening behavior and assault on staff. UC's behavior will be continually evaluated in order to
                                                 expedite UC's reintegration into regular programrfiing while maintaining the safety of UC, staff and ocher minors in the program. Removal
                                                 from programming will not exceed 24 hours, without administrative approval. Following reintegration, Clinician and Case Manager will
                                                 meet with UC to discuss safety concerns and behavioral management. Follow up will 6e documented in UC's individual progress notes and
                                                 case manager notes.

     ~~ Recommendations(History)



     Pending full investigation. Follow up will be provided in a SIR Addendum.                       8/23/2017 3:08:42 PM                                egallardo@svjc.org

     Recommendations:                            It is recommended that UC                           continue to receive case management, clinical, legal, and medical services.
     Reporting:

     Reported To State Licensing:                C' Yes !~ No                      Date of Report:                                                      Time of Report:

     Was the Incident Investigated?              C' Yes r No           Date Notified the Incident                                        Case/Confirmation Number:
                                                                       will 6e investigated:

     Explain

     L-~ Progress of Investigation (History)                                                             -

     U Resulu/Findings of Investigation (History):

     Results/Findings of Investigation:
     Attach Reports/Findings:

     Is CPS Different From State Licensing:      !: yes l" No

     Reported To CPS:                           (' Yes (•' No                      Date of Report:                                                   Time of Report:

     Was the Incident Investigated?              C' Yes (~ No          Date Notified the Incident                                     Case/Confirmation Number:
                                                                       will be Investigated:

     Explain

     Results/Findings of Investigation:
     Attach Reports/Findings:

     Reported To Local Law Enforcement:          C" Yes f~ No                      Date of Report:                                                   Time of Report:

                                                                                   Officer Name:                                                      Officer Badge:

     Was the Incident Investigated?             (' Yes C No            Date Notified the Incident                                     Case/Confirmation Number:
                                                                       will be investigated:
     Explain

     O Progress of Invesdgallon (History
     L~ Resul6/Findings of Investlga[ion (History):

     Results/Findings of Investigation:
     Attach Reports/Findings:

     ORR Notlflcatlons:




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                                       Jessie Mansilla        ORR/FFS               8/22/2017      04:30 PM        jessie.mansilla@acf.hhs.g Q024014844

                                       Rachel laco6s Gainor   ORR/PO             a 8/22/2017       04:30 PM        rachel.jambs~acf.hhs.gov 2024012332

                                                              Medical Coordinator

                                       Patricia Melendres     Case Coordinator      8/22/2017      0430 PM         patricia.melendres~gdit.c dD35876557

                                       Mark Bennett           CFS                   8/22/2017      04:30 PM        mark.bennett@acf.hhs.gov 2024014827

                                       'DCS Hotline           SIR Hotline           8/22/2017      0430 PM         sirhot~ine~dad.hhs.gov     2024015709

                                       Rebecca Schreuder      GDIT Supervisor       8/22/2017      04:30 PM        Rebecca.5chreuder@GDIT.c    75520202

     Other Notifications:

     Is this an SIR for a Runaway?     (` Yes (•' No



                                       ICE Juvenile                                                      Phone
                                       Coordinator

     Reporter and Follow-Ilp Cantac[



                                       Staff Filing Report     Elsa Galla rdo             Case Manager           egalardo@svjc,org          5408860729

                                       ContaM for Follow-Up    Elsa Gallardo              Case Manager           egallardo~svjc.org         5408860729




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